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Vv.

JAMES GUTIERREZ,
aka “Chemo,”

aka “Pitbull,”
ROBERT RODRIGUEZ,
aka “Mosca,”
KENNETH COFER,

aka “Shady,”
LOUIS ARMANDO RUIZ,
aka “Tall Luis,”
aka “Mike Lopez,”
JOHN RIVERA, JR.,
aka “Beetle,”
MARCO GARCIA,

aka “Sleepy,”
LENORE JARA,

MARIE GUTIERREZ,
JOHNNY MATA,

aka “Minor,”
JOSE SALAS,

aka “Violent,”
aka “Eddie Boy,”
CHRISTIAN LAFARGO,
aka “Bossy,”
RICHARD BALLESTEROS,
aka “Smiley,”
RAYMOND LOPEZ,

aka “Loco Ray,”

UNITED STATES OF AMERICA,

Plaintiff,

RICHARD MICHAEL SANCHEZ,

 

JM: VOCS

 

 

January 2014 Grand Jury CR
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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

CR No. 14-

 

INDICTMENT
[18 U.S.C. § 1962(d):
Influenced and Corrupt
Organizations Conspiracy;

18 U.S.C. § 1959: Violent

Crime in Aid of Racketeering;
21 U.S.C. § 846: Conspiracy

to Possess with Intent to
Distribute and Distribute
Controlled Substances;

21 U.S.C. §§ 841 (a) (1),

841 (b) (1) (A), 841 (b) (1) (B):
Possession with Intent to
Distribute and Distribution

of Controlled Substances;

18 U.S.C. S§ 924 (c) (1) (A),

(c) (1) (B) (41), (3) (1): Possess,
Use, Carry, Brandish, and/or
Discharge a Firearm in
Furtherance of, and During and
in Relation to, a Crime of
Violence or Drug Trafficking
Crime; 18 U.S.C. § 922(g) (1):
Felon in Possession of a
Firearm/Ammunition; 18 U.S.C.

§ 922(g) (5): Illegal Alien in
Possession of a Firearm; 26
U.S.C. § 5861(d): Possession of
Unregistered Firearms; 18 U.S.C.
§ 1956(h): Conspiracy to Launder
Money; 8 U.S.C. §§ 1326(a),

(b) (2): Illegal Alien Found in
the United States Following

Racketeer

 

 
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JOSE LUIS GARCIA,
aka “Lil Azteca,”

ARNOLD MACHADO,

aka “Chunks,”

WILLIAM MCCORMICK,

aka “Munchie, ”

RAFAEL LOMELI,

aka “Pelon,”

RUBEN TRINIDAD,

aka “Turk,”

aka “E-Loc,”

MICHELLE VICTORIA CORTEZ,

aka “Dimples,”

BERNADETTE CORTEZ,

aka “Smiley,”

ENRIQUE LOPEZ,

aka “Kiki,”

aka “Ricky,”

MARK JURADO,

aka “Marco,”

VINCENT CARLOS VALENCIA,

aka “Solo,”

GUSTAVO MUNOZ,

aka “Topo,”

ANTHONY GOMEZ,

aka “Kirby,”

aka “Chente,”

ALFRED BESERRA,

aka “Enemy, ”

RICHARD CASTRO RODRIGUEZ,

aka “Turtle,”

aka “Richy Boy,”

SERGIO CORDERO,

aka “Bam Bam,”

DANNY CADENA,

aka “Serio,”

ANGEL HERNANDEZ,

aka “Gangster,”

RICHARD ANTHONY PONCE,

‘aka “Ricky Boy,”

KARL EUGENE BOWERS,

aka “Chino,”

MARK JEREMY SALAZAR,

aka “Huero,”

MICHAEI, STERRA,

aka “Mellow,”

ANGELICA CASTELLANO,

MELQUIADES SANCHEZ,

aka “Pelon,”

PEDRO SANCHEZ,

aka “Toro,”

MANUEL RAMOS,

 

 

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Deportation; 18 U.S.C.

S§ 924(d), 963, 982(a) (1),

21 U.S.C. § 853, 26 U.S.C.

§ 5872, and 28 U.S.C. § 2461(c):
Criminal Forfeiture]

 

 
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SALVADOR HERNANDEZ,
- aka “Tiburon,” and
HIRAM RAMIREZ,

aka “Tijuas,”

Defendants.

 

 

 

 

 

 
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The Grand Jury charges:
GENERAL ALLEGATIONS

1. At all times relevant to this Indictment, the criminal
organization known as the El Monte Flores street gang (the “El
Monte Flores gang” or “EMF”) operated in the Central District of
California and elsewhere. The El Monte Flores gang, including
its leaders, members, and associates, constitutes an
“enterprise,” as defined by Title 18, United States Code,
Section 1961(4), that is, a group of individuals associated in
fact, although not a legal entity. The enterprise engages in,
and its activities affect, interstate and foreign commerce. The
enterprise constitutes an ongoing organization whose members
function as a continuing unit for a common purpose of achieving
the objectives of the enterprise.
A. BACKGROUND OF THE EL MONTE FLORES GANG

2. The El Monte Flores gang is a multi-generational
street gang that is believed to have been formed in the 1960’s.
The name of the gang, “El Monte Flores,” originates from the Las
Flores Barrio, so named for the flower fields in the area, that
was located in the City of South El Monte. “Las Flores”
translates to “the flowers” in Spanish. The El Monte Flores
gang claims as its territory the entire cities of El Monte and
South El Monte, which are both located within the San Gabriel
Valley region of Southern California. Throughout the years, the
El Monte Flores gang has grown in size, and over 800 individuals
have either been identified as active El Monte Flores gang
members or associates since the date of the gang’s inception.

The El Monte Flores gang has and continues to control the drug

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distribution and other illegal activities within the cities of
EL Monte and South El Monte.

3. El Monte Flores gang members commit crimes, including
acts of violence (ranging from battery to murder), drug
trafficking offenses, robbery, burglary, carjacking, witness
intimidation, kidnapping, weapons trafficking, credit card
fraud, identity theft, and hate crimes directed against African-
Americans who might reside or be present in the cities of El
Monte and South El Monte in an effort to rid these cities of all
African-Americans. The El Monte Flores gang maintains control
of its territory by attacking and threatening rival gang members
who enter the city of El Monte or surrounding areas;
intimidating and threatening residents of the cities of El Monte
and South El Monte; and using graffiti, gang signs, and gang
paraphernalia within the cities of El Monte and South El Monte
to indicate that the gang controls the affected areas. Members
of the El Monte Flores gang possess and carry firearms in order
to maintain control of the gang’s territory, as well as to
retaliate against rival gang members. Members of the El Monte
Flores gang also steal vehicles, using generic and shaved
ignition keys, to commit violent crimes and to help conceal
their identities from law enforcement.

4, As a further means of intimidating and controlling the
residents of the cities of El Monte and South El Monte and
enhancing their own reputations within the El Monte Flores gang,
and the overall reputation of the El Monte Flores gang itself,
El Monte Flores gang members: resist arrest by running from law

enforcement; intimidate, threaten, and assault persons in the

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cities of El Monte and South El Monte (including potential
witnesses who could testify in court about their crimes); rob,
assault, and murder persons who show disrespect to the El Monte
Flores gang or El Monte Flores gang members; and write graffiti
on businesses and residences within the gang’s territory.

5. El Monte Flores gang members take pride in the crimes
committed by other El Monte Flores gang members and believe that
the commission of crimes enhances the status of the entire EL
Monte Flores gang in the eyes of other criminal street gangs and
the Mexican Mafia, a powerful criminal organization that
operates from within the California state and federal prison
systems and exerts control both within and outside the prison
system. El Monte Flores gang members also believe that their
commission of crimes, particularly crimes of violence (ranging
from battery to murder), enhances their standing within the El
Monte Flores gang itself and can lead to them attaining greater
status within the gang.

6. The El Monte Flores gang extorts money from drug
traffickers who sell methamphetamine, heroin, and other drugs in
the gang’s territory in the cities of El Monte and South El
Monte. These drug traffickers are forced to pay a drug “tax” or
“rent” to the El Monte Flores gang, a portion of which is passed
on to the Mexican Mafia. If a drug trafficker refuses to pay
this drug “tax” to the El Monte Flores gang, that drug
trafficker faces reprisals from the El Monte Flores gang,
including fines, robbery, kidnapping, and threatened or actual
violence. On the other hand, if a drug trafficker does pay this

drug “tax” to the El Monte Flores gang, that drug trafficker

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will be given authorization from the El Monte Flores gang to
sell drugs in the cities of El Monte and South El Monte and will
receive protection from the El Monte Flores gang against both El
Monte Flores gang members and members of rival gangs.

7. In addition to taxing drug traffickers who sell drugs
in the cities of El Monte and South El Monte, members of the El
Monte Flores gang sell and direct others to sell drugs,
including methamphetamine, heroin, cocaine, cocaine base in the
form of crack cocaine (“crack cocaine”), and other drugs, to
customers in the cities of El Monte and South El Monte. Through
El Monte Flores gang members’ personal sales of drugs and the El
Monte Flores gang’s taxation of all other drug traffickers
selling drugs in the cities of El Monte and South El Monte, the
El Monte Flores gang controls the sale and distribution of drugs
in the cities of El Monte and South El Monte.

8. “Crawford’s Plaza,” located at the corner of Valley
Boulevard and Garvey Avenue in El Monte, California, and the
“Klingerman” apartment complex, located on the 11100-11300 block
of Klingerman Street in El Monte, California, have long been
central locations for criminal activity by members of the El
Monte Flores gang. Gang members regularly use threats and acts
of violence to extort “taxes” from drug dealers at “Crawford's
Plaza” and the “Klingerman” apartments, and from fraudulent
document vendors who operate at “Crawford’s Plaza.” Members and
associates of the El Monte Flores gang also regularly sell drugs
in the area surrounding “Crawford’s Plaza” and in the
“Klingerman” apartments. “Tax collectors” use the collected

funds to promote and further the criminal activities of the El

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Monte Flores gang in a number of ways, including by using the
funds to pay the required tribute to Mexican Mafia members and
to purchase drugs and firearms. The El Monte Flores gang also
lays claim to the Boys & Girls Club of America - San Gabriel
Valley Club, located at 2740 Mountain View Road in El Monte, and
the gang’s members openly sell drugs, collect extortionate
taxes, fight, and hold gang meetings at the Boys & Girls Club of
America.

9. El Monte Flores gang members are typically required to
participate in a significant number of criminal acts on behalf
of the El Monte Flores gang. This often is referred to as
“putting in work” for the El Monte Flores gang, which means
committing crimes such as drug trafficking, robbery, carjacking,
kidnapping, witness intimidation, credit card fraud, identity
theft, murder, and assaults of rival gang members, African-
Americans, and law enforcement in the cities of El Monte and

South El Monte. New members not only earn “respect” within the

El Monte Flores gang for committing these crimes, but also help

ensure the El Monte Flores gang’s control over its territory by
increasing the fear that the citizens within the cities of El
Monte and South El Monte have of the gang. Once it has been
decided that a prospective El Monte Flores gang member will be
admitted into the gang, the prospective member will be “jumped
in” to the gang, which means he is subjected to a physical
beating by several existing members of the El Monte Flores gang.
The beating is expected to demonstrate both dedication to the
gang and physical strength. Once a person becomes a member of

the El Monte Flores gang, that member will typically continue to

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commit. crimes to generate funds for the gang, build his own
reputation within the gang, and enhance the overall reputation
of the El Monte Flores gang itself. Some individuals are
admitted to the El Monte Flores gang without having to “put in
work” or be “jumped in,” based upon an older relative’s position
within the gang or through their long-time association with
senior El Monte Flores gang members.

10. The El Monte Flores gang includes not only members but
associates. An associate is a person with an established
relationship to the El Monte Flores gang. El Monte Flores gang
associates often act on behalf of, and for the benefit of, the
El Monte Flores gang by engaging in drug trafficking, the
collection of tax extortion proceeds, and money laundering for
members of the El Monte Flores gang and Mexican Mafia. Both
members of the El Monte Flores gang and their associates are
participants in the El Monte Flores criminal enterprise.

11. El Monte Flores gang members identify their territory
by spray-painting, or “tagging,” on street signs, walls, and
buildings such things as “EL MONTE FLORES,” “FLORES,” and “EMF,”
as well as the monikers of El Monte Flores gang members.

Members generally engage in tagging not only to identify
territory claimed by the El Monte Flores gang, but also to warn
and/or terrorize members of the public and law-abiding residents
of the neighborhoods with threats that the neighborhood is under
the control of the El Monte Flores gang.

12. El Monte Flores gang members generally wear clothing
that identifies them as members of the gang. In particular, El

Monte Flores gang members wear black and blue items that display

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versions of the “F” and “M” symbol commonly associated with the
Florida Marlins and Milwaukee Brewers baseball teams. El Monte
Flores gang members also wear clothing and baseball caps with
the “Famous Stars and Straps” logo, which is the upper case ‘“F”
with a star in the middle. Other articles of clothing include
metal belt buckles that display the letters “E,” “M,” or “PF.”
Some gang members also wear clothing that display “SGV” and “EL
MONTE,” representing the San Gabriel Valley and the city of El
Monte. Additionally, El Monte.Flores gang members often tattoo
the words “EL MONTE FLORES,” “FLORES,” and “EMF13”% (the number
“13” is associated with the Mexican Mafia) in prominent places
on their bodies, including their face, neck, chest, back, and on
the top or back of their heads. El Monte Flores gang members
display these tattoos to show their membership in, and loyalty
to, the El Monte Flores gang. Finally, El Monte Flores gang
members use hand signs, typically by forming the letter “F” with
their hands, to identify themselves to other gang members and to
intimidate rivals and members of the public.

13. The El Monte Flores gang is controlled principally by
a senior member who is known as the “Keyholder” or “Shotcaller.”
The Keyholder is responsible for ensuring that the goals of the
El Monte Flores gang are met. These goals include generating
revenue by managing the drug trafficking activities in the El
Monte Flores gang’s territory and extorting tax proceeds from
drug dealers and fraudulent document vendors; and enforcing
Mexican Mafia directives and the El Monte Flores gang’s code of
conduct. Leadership and status in the gang sometimes change

based on internal conflicts and power struggles. Those seeking

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leadership positions are said to be engaged in “politicing,”
which means that they are attempting to gain favor with other
gang members and members of the Mexican Mafia in order to attain
a position of authority and responsibility in the El Monte
Flores gang or Mexican Mafia.

B, THE MEXICAN MAFIA’S AUTHORITY OVER AND RELATIONSHIP WITH

THE EL MONTE FLORES GANG

14. As noted above, the El Monte Flores gang is loyal and
committed to the Mexican Mafia. The sole purpose of the Mexican
Mafia is to control and organize the criminal activities of
Southern California Hispanic street gangs (referred to as
“Sureno” gangs). Each Sureno gang in Southern California is
controlled by one or more Mexican Mafia members. Typically,
Mexican Mafia members are incarcerated within a state or federal
correctional institution. Even though the Mexican Mafia member
is incarcerated, his custodial status does not inhibit the
influence he wields over a particular territory or prevent him
from continuing to operate a criminal enterprise.

15. The Mexican Mafia, often referred to as “La Eme”
(derived from the Spanish pronunciation of the letter “M”), is a
criminal organization that operates from within the California
state prison system, the federal prison system, the streets and
suburbs of large cities throughout Southern California, and
elsewhere. Each member of the .Mexican Mafia, commonly referred
to as a “Carnal,” “Brother,” “Big Homie,” “Tio” (Spanish for
“uncle”), and/or “Padrino” (Spanish for “godfather”), comes from
the ranks of local Southern California Hispanic street gangs,

including the El Monte Flores gang. By controlling the criminal

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activities occurring within prison facilities, providing
protection for imprisoned members and associates of Hispanic
gangs, and imposing discipline, often in the form of acts of
violence, against both individuals and street gangs who fail to
adhere to its directives, the Mexican Mafia has risen to the
position where it now exercises control outside the prison
system over the Hispanic street gangs of Southern California,
including the El Monte Flores gang. The Mexican Mafia charges
the street gangs under its control sums of money to be paid on a
regular basis, known as “taxes,” “rent,” “tribute,” or “feria”
(Spanish for money), which is payable to the Mexican Mafia
member staking claim to, and designated to oversee, the
particular street gang. The Mexican Mafia members appoint
associates to facilitate the collection of the rent proceeds
from street gangs.. In return for such payments, a street gang
receives the Mexican Mafia’s authorization to control the
criminal activities occurring within the gang’s territory, free
from interference or competition from other street gangs, as
well as protection for the gang’s members who are incarcerated.
Failure to pay either the “rent,” or to adhere to the Mexican
Mafia’s directives, will result in the street gang being
penalized by the Mexican Mafia, which can include violence
directed at either individual members of the street gang’ or the
street gang as a whole.

16. In recent years, through approximately 2007, the El
Monte Flores gang operated under the authority and direction of
Mexican Mafia member F.B. Mexican Mafia member F.B. had control

over the San Gabriel Valley with the assistance of

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intermediaries, who helped facilitate his receipt of “rent”
payments from the El Monte Flores gang, and communicated or
assisted in the communication of Mexican Mafia member F.B.’s
directives to the El Monte Flores gang. Mexican Mafia member
F.B. died in 2007, and, since that date, members from the El
Monte Flores gang have paid “rent” to several Mexican Mafia
members vying for control of the El Monte Flores gang, including
Mexican Mafia member R.S., Mexican Mafia member C.A., and
Mexican Mafia member and defendant JAMES GUTIERREZ, also known
as (“aka”) “Chemo.”
Cc. PURPOSES OF THE ENTERPRISE
17. The purposes of the El Monte Flores gang include, but

are. not limited to, the following:

a. Enriching members and associates of the El Monte
Flores gang and the Mexican Mafia through, among other things,
the control of, and participation in, the distribution of
various controlled substances in the El Monte Flores gang’s
territory; the collection of “taxes” from drug traffickers and
fraudulent document vendors who operate in the El Monte Flores
gang’s territory; and the commission of financially-oriented
crimes such as identity theft and robbery.

b. Maintaining control and authority over the El
Monte Flores. gang’s territory, often through threats,
intimidation, and the commission of acts of violence against
local residents and rival gangs.

c. Preserving, protecting, and expanding the power

of the El Monte Flores gang through the use of intimidation,

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violence, threats of violence, assaults, racially-motivated
attacks, and murders.

d. Promoting and enhancing the reputations and
activities of the El Monte Flores gang and its members and
associates.

D. THE MEANS AND METHODS OF THE ENTERPRISE

18. The means and methods by which the defendants and
other members and associates of the El Monte Flores gang conduct
and participate in the conduct of the affairs of the El Monte
Flores gang include:

a. Members and associates of the El Monte Flores
gang commit, attempt to commit, and threaten to commit, acts of
violence, including murders, assaults, acts of intimidation,
threats of violence directed against rival gang members and
witnesses in criminal cases, and racially-motivated attacks, in
order to protect and expand the scope of the enterprise’s
criminal operations and to promote a climate of fear.

b. Members and associates of the El Monte Flores
gang engage in drug trafficking, firearms trafficking, robbery,
identity theft, credit card fraud, and extortionate “tax”
collection as a means to generate income for the gang.

Cc. The El Monte Flores gang pays “taxes” or
“tribute” to the Mexican Mafia in order to ensure protection for
its incarcerated members and associates, and in order to obtain
continued authorization to exercise exclusive control over the

El Monte Flores gang’s territory and the criminal conduct

occurring therein.

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d. Members and associates of the El Monte Flores
gang attempt to conceal from law enforcement the identity of its
members and associates, the ways in which the gang conducts its
affairs, and the locations where the gang’s members and

associates discuss and conduct the gang’s affairs.

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COUNT ONE
[18 U.S.C. § 1962 (d)]

1. Paragraphs One through Eighteen of the General
Allegations of this Indictment are re~alléged and incorporated
by reference as though fully set forth herein.

A. OBJECT OF THE RICO CONSPIRACY

2. Beginning on a date unknown to the Grand Jury, and
continuing to on or about the date of this Indictment, in Los
Angeles County, within the Central District of California, and
elsewhere, defendants JAMES GUTIERREZ, aka “Chemo”

(“J. GUTIERREZ”), RICHARD MICHAEL SANCHEZ, aka “Pitbull”

(“R. SANCHEZ”), ROBERT RODRIGUEZ, aka “Mosca” (“ROBERT
RODRIGUEZ”), KENNETH COFER, aka “Shady” (“COFER”), LOUIS ARMANDO
RUIZ, aka “Tall Luis,” aka “Mike Lopez” (“RUIZ”), JOHN RIVERA,
JR., aka “Beetle” (“RIVERA”) , MARCO GARCIA, aka “Sleepy”

(“M. GARCIA’), LENORE JARA (“JARA”’), MARIE GUTIERREZ

(“M. GUTIERREZ”), JOHNNY MATA, aka “Minor” (“MATA”), JOSE SALAS,
aka “Violent,” aka “Eddie Boy” (“SALAS”), CHRISTIAN LAFARGO, aka
“Bossy” (“LAFARGO”), RICHARD BALLESTEROS, aka “Smiley”
(“BALLESTEROS”), RAYMOND LOPEZ, aka “Loco Ray” (“R. LOPEZ”),
JOSE LUIS GARCIA, aka “Lil Azteca” (“J. GARCIA”), ARNOLD
MACHADO, aka “Chunks” (“MACHADO”), WILLIAM MCCORMICK, aka
“Munchie” (“MCCORMICK”), RAFAEL LOMELI, aka “Pelon” (“LOMELI”),
RUBEN TRINIDAD, aka “Turk,” aka “E-Loc” (“TRINIDAD”), MICHELLE
VICTORIA CORTEZ, aka “Dimples” (“M. CORTEZ”), BERNADETTE CORTEZ,
aka “Smiley” (“B. CORTEZ”), ENRIQUE LOPEZ, aka “Kiki,” aka
“Ricky” (“E. LOPEZ”), MARK JURADO, aka “Marco” (“JURADO”),

VINCENT CARLOS VALENCIA, aka “Solo” (“VALENCIA”), GUSTAVO MUNOZ,

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aka “Topo” (“MUNOZ”), ANTHONY GOMEZ, aka “Kirby,” aka “Chente”
(“GOMEZ”), ALFRED BESERRA, aka “Enemy” (“BESERRA”), RICHARD
CASTRO RODRIGUEZ, aka “Turtle,” aka “Richy Boy” (“RICHARD
RODRIGUEZ”), SERGIO CORDERO, aka “Bam Bam” (“CORDERO”), DANNY
CADENA, aka “Serio” (“CADENA”), ANGEL HERNANDEZ, aka “Gangster”
(“A. HERNANDEZ”), RICHARD ANTHONY PONCE, aka “Ricky Boy”
(“PONCE”), KARL EUGENE BOWERS, aka “Chino” (“BOWERS”), MARK
JEREMY SALAZAR, aka “Huero” (“SALAZAR”), MICHAEL SIERRA, aka
“Mellow” (“SIERRA”), ANGELICA CASTELLANO (“CASTELLANO”), and
HIRAM RAMIREZ, aka “Tijuas” (“RAMIREZ”), and others known and
unknown to the Grand Jury, being persons employed by and
associated with the El Monte Flores gang, which constitutes an
“enterprise” as defined in Title 18, United States Code, Section
1961(4), which enterprise engaged in, and the activities of
which affected, interstate and foreign commerce, unlawfully and
knowingly combined, conspired, confederated, and agreed together
and with each other to violate Title 18, United States Code,
Section 1962(c), that is, to conduct and participate, directly
and indirectly, in the conduct of the affairs of the enterprise
through a pattern of racketeering activity, as that term is
defined in Title 18, United States Code, Sections 1961(1) and
1961(5), consisting of multiple acts involving murder, in
violation of California Penal Code Sections 2la, 31, 182, 187,
189, and 664; extortion, in violation of California Penal Code
Sections 21a, 31, 182, 518, 519, 520, and 664; robbery, in
violation of California Penal Code Sections 2la, 31, 182, 211,
212.5(a), 213, and 664; kidnapping, in violation of California

Penal Code Sections 21a, 31, 182, 209, and 664; multiple

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offenses involving trafficking in controlled substances,
including methamphetamine, heroin, and cocaine, in violation of
Title 21, United States Code, Sections 841(a) (1) and 846; and
multiple acts indictable under Title 18, United States Code,
Sections 1028 (Identity Theft) and 1029 (Access Device Fraud) ;
and Title 18, United States Code, Sections 1512 (Tampering with
a Witness, Victim, or an Informant) and 1513 (Retaliating
against a Victim, Witness, or an Informant) . It was a further
part of the conspiracy that each defendant agreed that a
conspirator would commit at least two acts of racketeering in
the conduct of the affairs of the enterprise.

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Mexican Mafia members, including defendant J.
GUTIERREZ, would pass messages from within the California State
and Federal prison systems to defendants R. SANCHEZ, ROBERT
RODRIGUEZ, JARA, and M. GUTIERREZ, and others known and unknown
to the Grand Jury, instructing El Monte Flores gang leaders to
direct certain activities of the El Monte Flores gang, including
activities involving the distribution of controlled substances
and the collection and distribution of “taxes” collected from
those engaged in illegal activities, and to authorize and direct

acts of violence committed by members and associates of the El

Monte Flores gang.

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2. Mexican Mafia members and associates, including
defendant J. GUTIERREZ and Mexican Mafia members R.S. and C.A.,
and others known and unknown to the Grand Jury, from within the
California State and Federal prison system, would grant
leadership authority over the El Monte Flores gang to defendants
COFER, RUIZ, and M. GARCIA, and others known and unknown to the
Grand Jury.

3. Defendant J. GUTIERREZ, Mexican Mafia members R.S. and
C.A., and others known and unknown to the Grand Jury, would
authorize El Monte Flores gang members and associates to extort
and collect “taxes” from drug traffickers, fraudulent document
vendors, and others in the areas controlled by the El Monte
Flores gang.

4, Defendants COFER, RUIZ, and M. GARCIA, and others
known and unknown to the Grand Jury, would direct other El Monte
Flores gang members to commit crimes, including robberies,
murders, extortion, witness intimidation, and drug trafficking,
in order to promote and further the activities of the El Monte
Flores gang.

5. Defendants COFER, RIVERA, M. GARCIA, MATA, SALAS,
LAFARGO, BALLESTEROS, R. LOPEZ, J. GARCIA, MACHADO, TRINIDAD, B.
CORTEZ, VALENCIA, MUNOZ, BESERRA, RICHARD RODRIGUEZ, CORDERO,
CADENA, A. HERNANDEZ, PONCE, BOWERS, SALAZAR, and SIERRA, and
others known and unknown to the Grand Jury, would obtain and
possess firearms and ammunition for El Monte Flores gang

members, so they could be used to enforce the authority of the

El Monte Flores gang.

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6. Defendants COFER, RUIZ, and M. GARCIA, and others
known and unknown to the Grand Jury, would provide controlled
substances to El Monte Flores gang members and associates for
further distribution.

7. Defendants R. SANCHEZ, ROBERT RODRIGUEZ, COFER, RUIZ,
RIVERA, M. GARCIA, JARA, M. GUTIERREZ, SALAS, LAFARGO,
BALLESTEROS, R. LOPEZ, J. GARCIA, MACHADO, MCCORMICK, LOMELI,
TRINIDAD, M. CORTEZ, B. CORTEZ, E. LOPEZ, JURADO, VALENCIA,
MUNOZ, GOMEZ, BESERRA, RICHARD RODRIGUEZ, CORDERO, CADENA, A.
HERNANDEZ, PONCE, BOWERS, SALAZAR, SIERRA, and CASTELLANO, and
others known and unknown to the Grand Jury, would possess and
distribute controlled substances in the neighborhoods controlled
by the El Monte Flores gang.

8. Defendants R. SANCHEZ, ROBERT RODRIGUEZ, COFER, RUIZ,
RIVERA, M. GARCIA, JARA, M. GUTIERREZ, MACHADO, M. CORTEZ, E.
LOPEZ, JURADO, VALENCIA, CASTELLANO, and RAMIREZ, and others
known and unknown to the Grand Jury, would collect extortionate
“tax” payments from drug traffickers, fraudulent document
vendors, and others in the neighborhoods controlled by the EL
Monte Flores gang. |

9. Defendants R. SANCHEZ, ROBERT RODRIGUEZ, COFER, RUIZ,
JARA, M. GUTIERREZ, E. LOPEZ, JURADO, and CASTELLANO, and others
known and unknown to the Grand Jury, would deliver payment of
the collected extortionate “taxes” to Mexican Mafia members R.S.
and C.A. and defendant J. GUTIERREZ as tribute owed by the El
Monte Flores gang to the Mexican Mafia and to obtain the

protection, favor, and backing of the Mexican Mafia.

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10. Defendants R. SANCHEZ, COFER, MATA, SALAS, LAFARGO,
BALLESTEROS, J. GARCIA, MACHADO, TRINIDAD, M. CORTEZ, B. CORTEZ,
VALENCIA, MUNOZ, CADENA, A. HERNANDEZ, and SIERRA, and others
known and unknown to the Grand Jury, would use firearms and
dangerous weapons to commit robberies, kidnappings, and
assaults, and to retaliate against, attempt to kill, and kill
gang members who obstructed the purposes of the El Monte Flores
enterprise, law enforcement officers, potential witnesses to
criminal activities committed by El Monte Flores gang members,
and residents in the neighborhoods controlled by the El Monte
Flores gang, in order to enforce the authority of the El Monte
Flores gang.

C. OVERT ACTS ©

In furtherance of the conspiracy, and to accomplish the
objects of the conspiracy, defendants J. GUTIERREZ, R. SANCHEZ,
ROBERT RODRIGUEZ, COFER, RUIZ, RIVERA, M. GARCIA, JARA, M.
GUTIERREZ, MATA, SALAS, LAFARGO, BALLESTEROS, R. LOPEZ, 5.
GARCIA, MACHADO, MCCORMICK, LOMELI, TRINIDAD, M. CORTEZ, B.
CORTEZ, E. LOPEZ, JURADO, VALENCIA, MUNOZ, GOMEZ, BESERRA,
RICHARD RODRIGUEZ, CORDERO, CADENA, A. HERNANDEZ, PONCE, BOWERS,
SALAZAR, SIERRA, CASTELLANO, and RAMIREZ, and others known and
unknown to the Grand Jury, committed various overt acts, on or
about the following dates, within the Central District of
California, and elsewhere, including, but not limited to, the
‘following:

1. On January 4, 1995, Mexican Mafia member R.S. told
unindicted Mexican Mafia members that Mexican Mafia member R.S.

wanted a silencer to kill Mexican Mafia dropout A.M. because

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there were children present at A.M.’s residence and Mexican
Mafia member R.S. did not want to kill the children.

2. On April 2, 1995, Mexican Mafia member R.S. sponsored
El Monte Flores gang member L.M. for membership into the Mexican
Mafia, and although other Mexican Mafia members objected to
L.M.’s membership because they did not know L.M. and the Mexican
Mafia had decided not to accept new members, Mexican Mafia
member R.S. eventually convinced the other Mexican Mafia members
to vote in favor of L.M. because L.M. had killed people on
behalf of the Mexican Mafia.

3. On April 22, 1995, unindicted co-conspirators, hired
by El Monte Flores gang member L.M., executed Mexican Mafia
dropout A.M. and victims G.A., M.M., L.M., and A.P. inside a

residence on Maxon Street in El Monte, California (the “Maxon

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Murders”).

4, On January 7, 1998, defendant MUNOZ and an unindicted
co-conspirator possessed approximately 6.42 grams of crack
cocaine and .57 grams of methamphetamine, as well as $121 in
U.S. currency, in El Monte Flores gang territory.

5. On July 26, 2000, defendants MUNOZ and VALENCIA and an
unindicted co-conspirator possessed a loaded .380 caliber
firearm and gang paraphernalia in their car in El Monte Flores
gang territory.

6. On February 23, 2001, defendant CADENA and an
unindicted co-conspirator approached an African-American male at

a party held in El Monte Flores gang territory, said “get the

f**k out of here n****r,” and attacked the African-American male
and chased him on foot as they yelled “El Monte Flores.”

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7. On June 20, 2002, defendant J. GARCIA entered victim
J.M.’s taxi in El Monte Flores gang territory, urinated in the
taxi, demanded J.M.’s wallet, placed a shoestring around J.M.’s
neck and attempted to strangle J.M., punched J.M. in the head
after J.M. refused to. give defendant J. GARCIA the wallet, and
threatened to kill J.M. when defendant J. GARCIA saw a police
officer approach the taxi.

8. On September 26, 2002, defendant M. CORTEZ possessed
handwritten notes of a recipe for manufacturing methamphetamine
in her residence, located in El Monte Flores gang territory.

9, On January 21, 2003, defendant BALLESTEROS and an
unindicted co-conspirator pulled their car next to victim I.T.’s
car in El Monte Flores gang territory; defendant BALLESTEROS
asked I.T. “where are you from” and told I.T. that “this is
Monte Flores”; and the unindicted co-conspirator fired two shots
at I.T. and his car.

10. On April 19, 2003, defendants J. GARCIA and LOMELI led
law enforcement officers on a high-speed car chase through El
Monte Flores gang territory while defendant J. GARCIA possessed
ammunition for a .25 caliber firearm.

11. On October 25, 2003, defendant BOWERS possessed
approximately .24 grams of methamphetamine and a .38 caliber
firearm while in a residence with other El Monte Flores gang
members.

12. On January 9, 2004, defendant SALAS possessed
approximately .46 grams of methamphetamine at his residence,

located in El Monte Flores gang territory.

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13. On March 15, 2004, defendant B. CORTEZ threatened to
harm victim G.V. because G.V. cooperated with law enforcement
against an El Monte Flores gang member, demanded that G.V. give
defendant B. CORTEZ $1,000 to bail the El Monte Flores gang
member out of jail, and advised G.V. that the El Monte Flores
gang member would kill G.V. if G.V. did not provide the money to
defendant B. CORTEZ.

14. On April 24, 2004, defendant MACHADO and an unindicted
El Monte Flores gang member led law enforcement officers on a
high-speed car chase through El Monte Flores gang territory,
during which defendant MACHADO displayed hand gestures meant to
identify himself as a member of the El Monte Flores gang and
threw beer bottles from his vehicle at the patrol cars.

15. On March 9, 2005, defendant GOMEZ possessed five
shaved keys while driving a stolen Honda Accord, and also
possessed Department of Motor Vehicle paperwork belonging to
other vehicles not registered to defendant GOMEZ.

16. On May 19, 2005, defendant JURADO possessed
approximately 11.26 grams of heroin in his vehicle in El Monte
Flores gang territory that he intended to sell.

17. On August 23, 2005, defendant VALENCIA fled from law
enforcement officers while he possessed a loaded .380 caliber
semi-automatic pistol and a letter written by defendant VALENCIA
pledging his allegiance to the El Monte Flores gang and to
committing violence in El Monte Flores gang territory.

18. ‘on October 28, 2005, defendant SALAS possessed

approximately one and one-half pounds of methamphetamine, a

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digital scale, and plastic baggies at his residence, located in
El Monte Flores gang territory.

19. On January 4,.2006, defendant J. GARCIA possessed 5.48
grams of methamphetamine in his residence, in the neighborhood
controlled by the El Monte Flores gang.

20. On March 5, 2006, defendant R. LOPEZ possessed 19
balloons of heroin in his vehicle in El Monte Flores gang
territory.

21. On April 12, 2006, defendant RICHARD RODRIGUEZ
possessed two shaved car keys and approximately .44 grams of
methamphetamine while- leading law enforcement officers ona
high-speed car chase in a stolen vehicle through El Monte Flores
gang territory.

22. On June 15, 2006, defendant SALAS and unidentified co-
conspirators kidnapped victim C.V. over a drug debt and held
C.V. hostage at a residence, located in El Monte Flores gang
territory.

23. On August 18, 2006, defendant RIVERA possessed brass
knuckles while in El Monte Flores gang territory.

24. On October 10, 2006, defendant TRINIDAD told victim
B.B. that defendant TRINIDAD was a “N****r killer,” that B.B.
did not belong in El Monte, and that defendant TRINIDAD and
other El Monte Flores gang members would attack B.B. Later that
same day, Hl Monte Flores gang members attacked and beat B.B. in
El Monte Flores gang territory.

25. On October 11, 2006, defendant B. CORTEZ possessed
approximately 22.64 grams of methamphetamine and .69 grams of

crack cocaine, a loaded .38 caliber firearm, a loaded .40

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had a new firearm for defendant MATA when defendant MATA

 

 

caliber firearm, a loaded 9mm firearm, 20 rounds of .357 caliber
ammunition, 22 rounds of .40 caliber ammunition, 17 rounds of
.22 caliber ammunition, one round of .223 caliber ammunition, a
digital scale, and $1,383 in U.S. currency in her residence,
located in El Monte Flores gang territory.

26. On March 3, 2007, defendant TRINIDAD asked victim J.B.
where he was from, brandished a knife, and attempted to steal
J.B.’s car in El Monte Flores gang territory.

27. On May 15, 2007, defendant VALENCIA and an El Monte
Flores gang prospect were stopped for a traffic violation in
rival gang territory; and as the El Monte Flores gang prospect
fled the car while pursued by law enforcement officers, he
attempted to dispose of two loaded firearms.

28. On October 18, 2007, defendant GOMEZ drove a stolen
BMW and led law enforcement officers on a high-speed car chase
through Pasadena, California.

29. On February 17, 2008, co-conspirator Salvador
Hernandez, aka “Tiburon” (“S. Hernandez”), possessed
approximately 2.4 grams of methamphetamine and $313 in U.S.
currency in his vehicle in El Monte Flores gang territory.

30. On May 18, 2008, an unindicted co-conspirator wrote a
letter to defendant MATA, who was incarcerated at the time,

advising defendant MATA that another unindicted co-conspirator

returned to El Monte Flores gang territory.

31. On July 5, 2008, defendant LAFARGO and an unindicted
El Monte Flores gang member possessed a can of spray-paint in
their car in El Monte Flores gang territory.

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32. On July 5, 2008, in El Monte Flores gang territory,
defendant MUNOZ struck victim F.F. in the head with a firearm
and the firearm discharged.

33. On August 5, 2008, defendant MACHADO possessed a
generic Honda ignition key and a handcuff key while driving a
stolen Honda Civic in El Monte Flores gang territory.

34. On October 28, 2008, defendant RIVERA and two
unindicted El Monte Flores gang members possessed more than 9.66
grams of methamphetamine while selling methamphetamine from
their car.

35. On November 8, 2008, defendant TRINIDAD possessed a
loaded .40 caliber firearm in his waistband while he and another
El Monte Flores gang member drank alcohol in defendant
TRINIDAD’s vehicle, all while in El Monte Flores gang territory.

' 36. On November 21, 2008, defendant LOMELI possessed
$9,330 in U.S. currency, a police scanner, and a cutting agent
used to manufacture methamphetamine.

37. On November 23, 2008, El Monte Flores gang members
held a car wash at the Boys & Girls Club of America in El Monte
Flores gang territory (the “Boys & Girls Club of America”) to
raise money for the family of a murdered El Monte Flores gang
member.

38. On April 5, 2009, defendant TRINIDAD attacked, beat,
and robbed victim L.M., a security guard, after L.M. attempted
to break up a fight involving El Monte Flores gang members at
Universal City Walk.

39. On April 11, 2009, in a telephone conversation using

coded language, defendant VALENCIA told defendant J. GUTIERREZ

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that members from the Artesia street gang had approached
defendant VALENCIA and other El Monte Flores gang members and
demanded that the El Monte Flores gang pay taxes to Mexican
Mafia member D.B. During the same conversation, defendant J.
GUTIERREZ agreed to share the tax proceeds collected in El Monte
Flores gang territory with Mexican Mafia member R.G. because the
representatives for Mexican Mafia members R.S. and C.A. were
“weak,” and defendant VALENCIA further agreed to send $200 to
defendant J. GUTIERREZ.

40. On April 14, 2009, an unidentified co-conspirator sent
$200 in tax proceeds to defendant J. GUTIERREZ via Western
Union.

41. On May 13, 2009, defendant RICHARD RODRIGUEZ possessed
approximately 100 plastic baggies, and led law enforcement
officers on a high-speed car chase while flashing gang signs out
of the car window.

42. On May 27, 2009, defendant VALENCIA possessed
approximately .45 grams of methamphetamine and 2 grams of
heroin, a loaded .45 caliber Ruger firearm, and gang
paraphernalia in El Monte Flores gang territory.

43.- On July 14, 2009, defendant M. CORTEZ wrote a letter
to Mexican Mafia member R.S. requesting authority to collect
taxes in El Monte Flores gang territory and telling Mexican
Mafia member R.S. that defendant M. CORTEZ had multiple
unidentified co-conspirators who were ready to pay taxes to
Mexican Mafia member R.S.

44, On July 25, 2009, defendant A. HERNANDEZ and an

unidentified co-conspirator robbed a “7-Eleven” convenience

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store in El Monte Flores gang territory, and they threatened to
kill the clerk if the clerk called the police.

45. On Augtst 2, 2009, defendant LAFARGO, while possessing
a 9mm firearm and marijuana packaged for distribution, beat and
kicked victim J.D. in the head in El Monte Flores gang
territory.

46. On August 27, 2009, defendant M. CORTEZ wrote a letter
to Mexican Mafia member R.S. requesting permission for defendant
VALENCIA to sell drugs in El Monte Flores gang territory.

47. On September 4, 2009, in a telephone conversation
using coded language, an unindicted co-conspirator told
defendant’ J. GUTIERREZ that defendant VALENCIA was concerned for
his safety because defendant VALENCIA had kept extortionate
taxes intended for defendant J. GUTIERREZ for himself.

48. On September 15, 2009, Mexican Mafia member R.S. wrote
a letter to defendant M. CORTEZ authorizing defendant M. CORTEZ
to collect taxes in El Monte Flores gang territory.

49, On September 17, 2009, in a telephone conversation
using coded language, defendant RUIZ told defendant J. GUTIERREZ
that Mexican Mafia member R.G. was opposing defendant J.
GUTIERREZ’s efforts to collect extortionate taxes in El Monte
Flores gang territory, and that defendant RUIZ threatened rival
gang members who were working on behalf of Mexican Mafia member
R.G. |

50. On October 14, 2009, defendant JURADO sent defendant

J. GUTIERREZ $75 in extortionate taxes collected by the El Monte

Flores gang.

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51. On October 15, 2009, defendants J. GARCIA and LOMELI,
while armed with a firearm, entered a convenience store in El
Monte Flores gang territory and accidentally shot victim E.R.

52. On October 20, 2009, defendant GOMEZ possessed a knife
and stolen credit cards in the name of victim S.D.

53. On November 18, 2009, in a telephone conversation
using coded language, defendant ROBERT RODRIGUEZ told Mexican
Mafia member R.S. that defendant ROBERT RODRIGUEZ told defendant
M. CORTEZ that defendant M. CORTEZ had to share the tax proceeds
collected in El Monte Flores gang territory with Mexican Mafia
member R.S., and defendant ROBERT RODRIGUEZ agreed to contact
Mexican Mafia member R.G. to resolve a dispute between Mexican
Mafia member R.S. and Mexican Mafia member R.G. over the control
of El Monte Flores gang territory.

54. On November 22, 2009, in a telephone conversation
using coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant M. CORTEZ told El Monte Flores gang
members that defendant M. CORTEZ represented defendant J.
GUTIERREZ in El Monte Flores gang territory and that defendant
J. GUTIERREZ provided defendant M. CORTEZ with the names and
locations of people to tax in El Monte Flores gang territory;
and defendant J. GUTIERREZ told defendant M. GUTIERREZ that
defendant J. GUTIERREZ did not authorize defendant M. CORTEZ to
collect tax proceeds in El Monte Flores gang territory.

55. On November 23, 2009, defendant SIERRA approached
victim E.P. in Bl Monte Flores gang territory; and defendant
SIERRA asked E.P. “where you from,” as he removed a bat from his

sweatshirt and attacked K.P. with the bat.

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56. On November 24, 2009, in a telephone conversation
using coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendants ROBERT RODRIGUEZ and M. GUTIERREZ
confronted defendant M. CORTEZ, and defendant M. GUTIERREZ told
defendant J. GUTIERREZ that defendant M. CORTEZ should be
attacked.

57. On December 8, 2009, defendant RIVERA possessed a
wooden billy club and approximately .44 grams of methamphetamine
hidden ina black magnetic key holder on the kitchen counter in
his residence, which was located in El Monte Flores gang
territory.

58. On December 8, 2009, in a telephone conversation using
coded language, defendant ROBERT RODRIGUEZ told Mexican Mafia
member R.S. that defendant ROBERT RODRIGUEZ would work with
defendant M. CORTEZ distributing drugs and collecting taxes in
El Monte Flores gang territory on behalf of Mexican Mafia member
R.S.

59. On December 21, 2009, in a telephone conversation
using coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendants RUIZ and M. CORTEZ were taxing drug
dealers in El Monte Flores gang territory and that defendant M.
CORTEZ was using defendant J. GUTIERREZ’s name for authorization
to collect the taxes.

60. On December 21, 2009, in a telephone conversation
using coded language, defendant J. GUTIERREZ told defendant RUIZ
that defendant M. CORTEZ was taxing drug dealers in El Monte

Flores gang territory without defendant J. GUTIERREZ’s

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authorization, and defendant RUIZ agreed to find out if anyone
had paid these extortionate taxes to defendant M. CORTEZ.

61. On January 5, 2010, defendant M. CORTEZ wrote a letter
to Mexican Mafia Member R.S. telling Mexican Mafia Member R.S.
that defendant M. CORTEZ was attempting to collect taxes in El
Monte Flores gang territory on behalf of Mexican Mafia R.S. but
that unidentified co-conspirators had refused to accept
defendant M. CORTEZ’s authority to collect these taxes.

62. On January 5, 2010, defendant CASTELLANO possessed
approximately 4.0 grams of methamphetamine, 230 pseudoephedrine
pills, and 10 hydrocodone pills ina vehicle in Arcadia, |
California.

_ 63. On January 10, 2010, in a telephone conversation using
coded language, defendant ROBERT RODRIGUEZ told Mexican Mafia
member R.S. that Mexican Mafia member R.G. would provide an
unidentified co-conspirator to assist defendant ROBERT RODRIGUEZ
with collecting taxes in El Monte Flores gang territory.

64. On January 17, 2010, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GUTIERREZ that
he would send extortionate tax payments collected by the El
Monte Flores gang to defendant J. GUTIERREZ the following week,
and defendant J. GUTIERREZ asked defendant RUIZ to collect and
send additional money from an unidentified co-conspirator.

65. On January 22, 2010, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GUTIERREZ that
defendant RUIZ spoke to defendant M. CORTEZ but defendant M.

CORTEZ was defiant, and defendant J. GUTIERREZ gave defendant

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RUIZ permission to attack an unidentified drug distributor who
paid taxes to defendant M. CORTEZ.

66. On January 24, 2010, in a telephone conversation using
coded language, defendant BALLESTEROS told defendant J.
GUTIERREZ that defendants RUIZ and BALLESTEROS were present at
an El Monte Flores gang meeting with 18 additional El Monte
Flores gang members to discuss a problem with rival gang members
under the authority of Mexican Mafia members R.G. and R.R. who
were selling drugs in El Monte Flores gang territory.
| 67. On January 24, 2010, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GUTIERREZ that
rival gang members under the authority of Mexican Mafia members
R.G. and R.R. were selling drugs in El Monte Flores gang
territory that the rival gang members attacked an unidentified
El Monte Flores gang member; and defendant J. GUTIERREZ provided
authorization to defendant RUIZ to attack the rival gang
members.

68. On January 25, 2010, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GUTIERREZ that
defendant RUIZ was going to Western Union to send extortionate
taxes collected by the El Monte Flores.gang to defendant J.
GUTIERREZ; and defendant J.: GUTIERREZ told defendant RUIZ not to
discuss business over the telephone because defendant J.
GUTIERREZ had been recently questioned by prison investigators
about defendant J. GUTIERREZ’s authorization of an assault on

representatives of Mexican Mafia members R.G. and R.R.

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69. On January 25, 2010, deféndant RUIZ caused $100 in
taxes collected by the El Monte Flores gang to be sent to
defendant J. GUTIERREZ.

70. On February 10, 2010, in a telephone conversation
using coded language, defendant J. GUTIERREZ told defendant
JURADO that defendant RUIZ sent $100 in taxes to defendant J.
GUTIERREZ the previous week, and defendants E. LOPEZ and JURADO
agreed to send additional money to defendant J. GUTIERREZ at a
later date.

71. On February 20, 2010, in a telephone conversation
using coded language, defendant JURADO told defendant J.
GUTIERREZ that defendant JURADO was collecting extortionate
taxes from defendant E. LOPEZ and other unidentified co-
conspirators.

72. On February 24, 2010, ina telephone conversation
using coded language, defendant J. GUTIERREZ told defendant
JURADO that El Monte Flores gang members had resisted paying
extortionate taxes to defendant J. GUTIERREZ, but that the El
Monte Flores gang members would not resist paying these taxes
after defendant J. GUTIERREZ is released from custody and back
in El Monte Flores gang territory.

73. On February 24, 2010, in a telephone conversation
using coded language, defendant JURADO told defendant J.
GUTIERREZ that defendant JURADO was going to collect
extortionate taxes on behalf of defendant J. GUTIERREZ later
that day, and defendant J. GUTIERREZ told defendant JURADO to

admonish defendant E. LOPEZ for not paying taxes and to tell

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defendant E. LOPEZ to provide heroin to defendant JURADO for
free.

74. On February 25, 2010, in a telephone conversation
using coded language, defendant J, GUTIERREZ told defendant
JURADO that defendant J. GUTIERREZ received tax proceeds from
defendant E. LOPEZ and an unindicted co-conspirator.

75. On March 15, 2010, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant JURADO to
contact defendant RUIZ and tell defendant RUIZ that defendant J.
GUTIERREZ wanted defendant RUIZ to pay extortionate taxes to
defendant J. GUTIERREZ. | |

76. On April 2, 2010, in a telephone conversation using
coded language, defendant JURADO told defendant J. GUTIERREZ
that defendants E. LOPEZ and JURADO were going to collect taxes
in El Monte Flores gang territory later that day, and defendant
J. GUTIERREZ complained that defendant RUIZ had not paid taxes
recently.

77. On April 2, 2010, in a telephone conversation using
coded language, defendant E. LOPEZ told defendant J. GUTIERREZ
that defendant E. LOPEZ was selling heroin and that defendants
BE. LOPEZ and JURADO were on their way to Western Union to send
defendant J. GUTIERREZ tax money; and defendant J. GUTIERREZ
told defendant E. LOPEZ to tell El Monte Flores gang members not
to be afraid of Mexican Mafia members R.G. and R.R. even though
Mexican Mafia members R.G. and R.R. were collecting taxes in El
Monte Flores gang territory.

78. On April 4, 2010, in a telephone conversation using

coded language, defendant J. GUTIERREZ told defendant HE. LOPEZ

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that El Monte Flores gang members were paying taxes to Mexican
Mafia members R.G. and R.R. and to tell the Hl Monte Flores gang
members to pay taxes to defendant J. GUTIERREZ instead of
Mexican Mafia members R.G. and R.R.

79, On May 26, 2010, defendant TRINIDAD sold approximately
13.6 grams of methamphetamine to a law enforcement confidential
informant (“CI-1”) in El Monte Flores gang territory.

80. On June 1, 2010, defendant TRINIDAD sold approximately
12.9 grams of methamphetamine to CI-1 in El Monte Flores gang
territory.

81. On June 17, 2010, in a telephone conversation using
coded language, defendant CORDERO told defendant M. GARCIA that
defendant CORDERO had not sold all:' of his drugs, and defendant
CORDERO asked defendant M. GARCIA to call him later.

82. On June 17, 2010, in a telephone conversation using
coded language, defendant CORDERO told defendant M. GARCIA that
defendant CORDERO still had one last unit of drugs to sell, and
defendant M. GARCIA agreed to give defendant CORDERO more time
to sell the drugs before defendant M. GARCIA delivered
additional drugs to defendant CORDERO.

83. On June 18, 2010, in a telephone conversation using
coded language, defendant BOWERS told defendant M. GARCIA that
defendant BOWERS had moved into the “Klingerman” apartments,
located in El Monte Flores gang territory, and intended to sell
heroin in that area, and defendant M. GARCIA agreed to supply
heroin to defendant BOWERS.

84. On June 21, 2010, in a telephone conversation using

coded language, defendant E. LOPEZ agreed to purchase three

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grams of heroin. from defendant M. GARCIA to be distributed to an
unidentified co-conspirator in exchange for $100.

85. On June 21, 2010, in a telephone conversation using
coded language, defendant E. LOPEZ agreed to purchase $50 worth
of drugs from defendant M. GARCIA to be distributed to an
unidentified co-conspirator.

86. On June 23, 2010, in a telephone conversation using
coded language, defendant M. GARCIA agreed to provide heroin to
defendant BOWERS the following day, and defendant M. GARCIA told
defendant BOWERS that defendant M. GARCIA could not provide the
heroin to defendant BOWERS on credit.

87. On June 27, 2010, in a telephone conversation using
coded language, co-conspirator Manuel Ramos (“Ramos”) ‘told
defendant M. GARCIA that defendant RUIZ demanded that co-
conspirator Ramos pay $800 per month in extortionate taxes for
selling drugs in El Monte Flores gang territory.

88. On June 28, 2010, ina telephone conversation using
coded language, defendant E. LOPEZ told defendant M. GARCIA that
an unidentified co-conspirator had provided defendant E. LOPEZ
with less than the agreed-upon amount of drugs, and defendant E.
LOPEZ asked defendant M. GARCIA for permission to tax the
unidentified co-conspirator $100 per week for selling drugs in
El Monte Flores gang territory on behalf of Mexican Mafia member
R.S.

89. On July 2, 2010, defendant ROBERT RODRIGUEZ purchased
a money order in the amount of $375 and sent it to an unindicted

co-conspirator on behalf of Mexican Mafia member R.S.

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90. On July 3, 2010, ina telephone conversation using
coded language, co-conspirator Ramos offered to sell 25 grams of
heroin to defendant M. GARCIA for $700; and co-conspirator Ramos
asked defendant M. GARCIA if defendant M. GARCIA had spoken to
defendant RUIZ about lowering co-conspirator Ramos’s tax
payments from $800 per month to a more reasonable amount.

91. On July 7, 2010, in a telephone conversation using
coded language, defendant R. LOPEZ told defendant M. GARCIA that
defendant R. LOPEZ wanted to buy defendant M. GARCIA’s drugs
only if they were the same quality that defendant R. LOPEZ
previously purchased from defendant M. GARCIA; and defendant R.
LOPEZ also told defendant M. GARCIA that defendant RUIZ wanted
defendant M. GARCIA to contact co-conspirator Ramos because co-
conspirator Ramos had not paid defendant RUIZ taxes based on co-
conspirator Ramos’s drug trafficking in El Monte Flores gang
territory.

92. On July 7, 2010, in a telephone conversation using
coded language, defendant R. LOPEZ agreed to buy drugs from
defendant M. GARCIA, and defendant R. LOPEZ told defendant M.
GARCIA that defendant RUIZ should receive taxes from drug sales
in El Monte Flores gang territory. |

93. On July 8, 2010, in a telephone conversation using
coded language, defendant E. LOPEZ told defendant M. GARCIA that
defendant E. LOPEZ refused to provide drugs to a customer
because defendant E. LOPEZ believed the customer worked on
behalf of Mexican Mafia member R.G., and defendant E. LOPEZ
agreed to contact defendant M. GARCIA when defendant E. LOPEZ

was ready to resume selling drugs.

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94, On July 10, 2010, in a telephone conversation using
coded language, defendant M. GARCIA complained to co-conspirator
Melquiades Sanchez, aka “Pelon” (“M. Sanchez”), that the quality
of the drugs that co-conspirator M. Sanchez provided to
defendant M. GARCIA was poor, and co-conspirator M. Sanchez told
defendant M. GARCIA that the drugs were from the same batch from
the previous day’s supply of drugs.

95. On August 2, 2010, defendant E. LOPEZ sent $140 in
extortionate taxes collected by the El Monte Flores gang to
defendant J. GUTIERREZ via Western Union.

96. On August 8, 2010, defendant LAFARGO shot at and
attempted to kill defendant SALAS in El Monte Flores gang
territory over a-dispute about drug proceeds and taxes.

97. On August 8, 2010, defendant SALAS shot at defendant
LAFARGO and El Monte Flores gang member A.B. over a dispute

about drug proceeds and taxes.

98. On August 9, 2010, defendant SALAS possessed a 100-
round high-capacity firearm ammunition magazine in his
residence, located in El Monte Flores gang territory.

99, On August 31, 2010, defendant PONCE and two unindicted
co-conspirators possessed approximately 1.8 kilograms of
methamphetamine and 48.6 grams of marijuana, two loaded 9mm
firearms, body armor, counterfeit currency, a printer, and a

fraudulent driver’s license.

100. On September 2, 2010, defendant ROBERT RODRIGUEZ
purchased a money order in the amount of $375 and sent it to an

unindicted co-conspirator on behalf of Mexican Mafia member R.S.

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101. On September 9, 2010, in a telephone conversation
using coded language, defendant M. GARCIA told co-conspirator M.
Sanchez that several of defendant M. GARCIA’s customers wanted
to buy heroin, and co-conspirator M. Sanchez agreed to provide
heroin to defendant M. GARCIA the following day.

102. On September 23, 2010, in a telephone conversation
using coded language, co-conspirator Ramos told defendant M.
GARCIA that co-conspirator Ramos wanted to continue selling
drugs in El Monte Flores gang territory but that co-conspirator
Ramos feared defendant RUIZ.

103. On September 27, 2010, in a telephone conversation
using coded language, co-conspirator S. Hernandez told defendant
M. GARCIA that an unindicted co-conspirator was wasting profits
from drug sales, and defendant M. GARCIA told co-conspirator S.
Hernandez that defendant M. GARCIA would place co-conspirator 8S.
Hernandez in charge of their drug distribution if the unindicted
co-conspirator continued to waste their profits from drug sales.

104. On September 28, 2010, in a telephone conversation
using coded language, co-conspirator M. Sanchez told an
unindicted co-conspirator to deliver methamphetamine to another
unindicted co-conspirator.

105. On September 28, 2010, an unindicted co-conspirator
delivered approximately .35 grams of methamphetamine to a
customer in El Monte Flores gang territory on behalf of co-
conspirator M. Sanchez.

106. On September 29, 2010, in a telephone conversation
using coded language, co-conspirator S. Hernandez told defendant

M. GARCIA that an unindicted co-conspirator had been arrested by

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law enforcement but law enforcement did not find the unindicted
co-conspirator’s drugs, and defendant M. GARCIA told co-
conspirator S. Hernandez to tell unidentified co-conspirators
that co-conspirator S. Hernandez and the unindicted co-
conspirator worked for defendant M. GARCIA selling drugs.

107. On September 30, 2010, in a telephone conversation
using coded language, defendant M. GARCIA asked co-conspirator
S. Hernandez how many units of drugs were left and how many
units were still available for sale, and co-conspirator 5.
Hernandez told defendant M. GARCIA that co-conspirator S.
Hernandez sold three or four units of drugs the previous day.

108. On September 30, 2010, ina telephone conversation
using coded language, co-conspirator S. Hernandez told defendant
M. GARCIA that five or six units of drugs remained available for
sale, and defendant M. GARCIA warned co-conspirator S. Hernandez
that an unidentified rival drug trafficker would likely cause
trouble for co-conspirator S. Hernandez soon.

109. On October 3, 2010, in a telephone conversation using
coded language, defendant CORDERO agreed to let defendant M.
GARCIA use defendant CORDERO’s brother to smuggle drugs into the
United States from Mexico.

110. On October 7, 2010, in a telephone conversation using
coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant JARA gave defendant M. GUTIERREZ
extortionate taxes collected by the El Monte Flores gang for
defendant J. GUTIERREZ, and defendant M. GUTIERREZ agreed to

send the money to defendant J. GUTIERREZ.

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111. On October 9, 2010, defendant M. GUTIERREZ deposited
$250 in extortionate taxes collected by the El Monte Flores gang
into her Wells Fargo bank account and sent $100 to defendant J.
GUTIERREZ via Western Union.

112. On October 9, 2010, in a telephone conversation using
coded language, defendant CORDERO told defendant M. GARCIA that
the drugs that defendant M. GARCIA recently provided to
defendant CORDERO were not as good as the drugs that defendant
M. GARCIA previously provided to defendant CORDERO and that
defendant CORDERO’s customers became sick after using the drugs.

113. On October 15, 2010, in a telephone conversation using
coded language, co-conspirator S. Hernandez agreed to contact a
drug source of supply and to try to obtain heroin for defendant
M. GARCIA.

114. On October 17, 2010, in a telephone conversation using
coded language, defendant R. SANCHEZ told defendant J. GUTIERREZ
that defendant R. SANCHEZ ‘was having problems collecting
extortionate taxes from unidentified co-conspirators.

115. On October 18, 2010, in a telephone conversation using
coded language, co-conspirator Ramos told defendant M. GARCIA
that co-conspirator Ramos did not want to talk to defendant
ROBERT RODRIGUEZ about selling drugs in El Monte Flores gang
territory because co-conspirator Ramos owed defendant RUIZ four
months’ of tax payments and feared that defendant ROBERT
RODRIGUEZ would tell defendant RUIZ that co-conspirator Ramos
was selling drugs; and defendant M. GARCIA told co-conspirator
Ramos that nobody was allowed to sell drugs in El Monte Flores
gang territory without paying “taxes.”

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116. On October 19, 2010, in a telephone conversation using
coded language, co-conspirator S. Hernandez told defendant M.
GARCIA that co-conspirator S. Hernandez had sold all of the
drugs that defendant M. GARCIA had given co-conspirator S.
Hernandez the previous day and that co-conspirator S. Hernandez
would drive to defendant M. GARCIA’s residence shortly to
acquire $200 worth of drugs.

117. On October 20, 2010, defendant R. SANCHEZ sent $200 in
extortionate taxes collected by the El Monte Flores gang to
defendant J. GUTIERREZ via Western Union.

118. On October 28, 2010, defendant BESERRA possessed
approximately 2.2 grams of marijuana and 1.3 grams of
methamphetamine, a digital scale, assorted plastic baggies, and
a Glock .40 caliber firearm loaded with 13 hollow-point bullets
in a residence, located in El Monte Flores gang territory.

119. On November 4, 2010, defendant ROBERT RODRIGUEZ
purchased a money order in the amount of $375 and sent it to an
unindicted co-conspirator on behalf of Mexican Mafia member R.S.

120. On November 5, 2010, defendant PONCE possessed
approximately 17.1 grams of methamphetamine, pay-and-owe sheets,
$2,300 in U.S. currency, a digital scale, a Smith & Wesson .357
caliber firearm stolen from the Los Angeles Sheriff’s Department
San Dimas Station, a loaded Sig Sauer 9mm firearm stolen from
the Riverside Sheriff’s Department, a Beretta 9mm firearm, a
stolen police officer badge from the Inglewood Police
Department, a bullet-proof vest, credit cards in the name of
victims J.S. and K.T., a document containing multiple names,

dates of birth, and social security numbers, a book titled

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“Hacking Exposed,” two counterfeit $100 bills, and a document
that contained an image of a $100 bill with “EMF” written above
the image.

121. On November 12, 2010, in a telephone conversation
using coded language, defendant R. LOPEZ agreed to sell drugs to
defendant ROBERT RODRIGUEZ.

“122. On November 13, 2010, in a telephone conversation
using coded language, defendant R. SANCHEZ told defendant J.
GUTIERREZ that one of defendant R. SANCHEZ’s workers was
arrested by law enforcement and that Mexican Mafia member R.G.
was sending unidentified rival gang members into El Monte Flores
gang territory to collect extortionate taxes.
ne 123. On November 15, 2010, in a telephone conversation
using coded language, defendant RUIZ told defendant J. GUTIERREZ
that Mexican Mafia member R.R. had been collecting extortionate
taxes in El Monte Flores gang territory, that the El Monte
Flores gang had held a meeting and had agreed to disregard
Mexican Mafia members R.G. and R.R., and that it was difficult
for defendant RUIZ to be in a leadership position and defend El
Monte Flores gang territory.

124. On November 15, 2010, defendant RUIZ directed an
unindicted co-conspirator to send $400 in extortionate taxes
collected by the El Monte Flores gang to defendant J. GUTIERREZ.

125. On November 15, 2010, in a telephone conversation
using coded language, defendant RUIZ told defendant J. GUTIERREZ
that defendant RUIZ used an unindicted co-conspirator to send

$400 to defendant J. GUTIERREZ.

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‘ 126. On November 17, 2010, in a telephone conversation
using coded language, defendant R. LOPEZ agreed to sell drugs to
defendant ROBERT RODRIGUEZ.

127. On November 19, 2010, in a telephone conversation
using coded language, defendant ROBERT RODRIGUEZ agreed to sell
a quantity of drugs to an unidentified co-conspirator in
exchange for $200.

128. On November 21, 2010, in a telephone conversation
using coded language, defendant BALLESTEROS told defendant
ROBERT RODRIGUEZ that defendant BALLESTEROS wanted to purchase
approximately 25 grams of heroin for between $575 to $600, and
defendant ROBERT RODRIGUEZ agreed to find the heroin for
defendant BALLESTEROS.

129. On November 21, 2010, in a telephone conversation
using coded language, defendant ROBERT RODRIGUEZ called an
unidentified co-conspirator and told the unidentified co-
conspirator that one of defendant ROBERT RODRIGUEZ’s workers
wanted to purchase heroin, and the unindicted co-conspirator
agreed to supply heroin to defendant ROBERT RODRIGUEZ.

130. On November 30, 2010, defendant PONCE possessed
approximately 18.03 grams of methamphetamine, 2.81 grams of
crack cocaine, and .56 grams of powder cocaine, a loaded .40
caliber firearm, and a loaded 9mm semi-automatic rifle.
| 131. On November 30, 2010, defendant PONCE possessed an “e-
card” card embosser and a MAC-10 semi-automatic short-barreled

rifle in a storage facility, located in El Monte Flores gang

territory.

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132. On December 7, 2010, defendant MCCORMICK possessed
approximately 3.53 grams of methamphetamine and 7.98 grams of
marijuana, as well as $343 in U.S. currency, at an El Monte
Flores gang hangout.

133. On December 21, 2010, in a telephone conversation
using coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant M. GUTIERREZ received $300 in
extortionate taxes collected by the El Monte Flores gang for
defendant J. GUTIERREZ from an unidentified co-conspirator; and
defendant M. GUTIERREZ agreed to send $100 to defendant J.
GUTIERREZ and the remaining $200 to an unindicted co-

conspirator.

134. On December 21, 2010, defendant M. GUTIERREZ deposited
$100 into her Wells Fargo bank account and sent $100 to
defendant J. GUTIERREZ via Western Union.

135. On December 24, 2010, defendant MATA and an unindicted
co-conspirator shot and killed rival gang member D.D.

136. On January 18, 2011, defendants SALAZAR and SIERRA
sold approximately 13.7 grams of methamphetamine to an El Monte
Flores gang member known to the Grand Jury in exchange for $600.

137. On January 24, 2011, defendant M. GARCIA possessed
approximately 155.4 grams of methamphetamine, $1,740 in U.S.
currency, a digital scale, a loaded .357 caliber firearm, a
loaded Omm firearm, a loaded .22 caliber firearm, two loaded
.380 caliber firearms, a loaded .40 caliber firearm, a 7.62
caliber rifle, a 9mm firearm, a .45 caliber firearm, and 287

rounds of assorted ammunition in his residence in Azusa,

California.

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138. On January 27, 2011, defendant PONCE possessed
approximately .96 grams of methamphetamine, a counterfeit $100
bill, a card encoder machine used to create credit cards, a
scanner, and a printer in his vehicle in El Monte Flores gang
territory.

139. On February 7, 2011, defendant GOMEZ threatened to
attack victim R.F., pushed R.F. from her car, and stole R.F.’s
car in El Monte Flores gang territory.

140. On February 9, 2011, in a telephone conversation using
coded language, defendant R. SANCHEZ told defendant J. GUTIERREZ
that defendant RUIZ was collecting taxes but not sending them to
defendant J. GUTIERREZ.

141. On February 11, 2011, in a telephone conversation
using coded language, defendant R. SANCHEZ told defendant J.
GUTIERREZ that when defendant R. SANCHEZ confronted some
unidentified El Monte Flores gang members about defendant RUIZ
stealing taxes owed to defendant J. GUTIERREZ the unidentified
El Monte Flores gang members changed their story. During the
same conversation, defendant R. SANCHEZ added that he did not
believe defendant RUIZ was able to collect only $100 in
extortionate taxes from the entire El Monte Flores gang
territory and believed that defendant RUIZ was stealing taxes
owed to defendant J. GUTIERREZ.

142. On February 15, 2011, in a telephone conversation
using coded language, defendant MCCORMICK told an El Monte
Flores gang member known to the Grand Jury that defendant
MCCORMICK had sold all of his methamphetamine but agreed to sell

additional methamphetamine to the gang member later that week.

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143. On February 16, 2011, in a telephone conversation
using coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant JARA had given defendant M. GUTIERREZ
$200 in extortionate taxes collected by the El Monte Flores gang
for defendant J. GUTIERREZ, and defendant J. GUTIERREZ told
defendant M. GUTIERREZ to keep $100 for herself and an
unindicted co-conspirator and to send the remaining $100 to
defendant J. GUTIERREZ.

144. On February 17, 2011, defendant M. GUTIERREZ sent $100
in extortionate taxes collected by the El Monte Flores gang to
defendant J. GUTIERREZ via Western Union.

145. On February 17, 2011, in a telephone conversation
using coded language, defendant MCCORMICK told an El Monte
Flores gang member known to the Grand Jury that law enforcement
was in the area and to drive to the Greater El Monte Community
Hospital to conduct their scheduled drug transaction and look
around for law enforcement.

146. On February 17, 2011, defendant MCCORMICK sold
approximately 25.5 grams of methamphetamine to an El Monte
Flores gang member known to the Grand Jury in exchange for
$1,000 in El Monte Flores gang territory.

147. On March 4, 2011, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant RUIZ that
no one in El Monte Flores gang territory should pay taxes to
Mexican Mafia member A.V. because Mexican Mafia member A.V.’s
membership in the Mexican Mafia was invalid. |

148. On March 15, 2011, in a telephone conversation using

coded language, defendant R. LOPEZ offered to sell an El Monte

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Flores gang member known to the Grand Jury one-half ounce of
heroin in exchange for $375.

149. On March 15, 2011, in a telephone conversation using
coded language, co-conspirator M. Sanchez offered to sell one
pound of methamphetamine to an El Monte Flores gang member known
to the Grand Jury in exchange for $10,000.

150. On March 16, 2011, co-conspirator M. Sanchez gave an
El Monte Flores gang member known to the Grand Jury
approximately .48 grams of methamphetamine as a sample of the
methamphetamine that co-conspirator M. Sanchez was willing to
sell to the gang member.

151. On March 21, 2011, co-conspirator M. Sanchez possessed
approximately 418.4 grams of methamphetamine in a vehicle in El
Monte Flores gang territory.

152. On March 23, 2011, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant RUIZ that
defendant R. SANCHEZ worked for defendant J. GUTIERREZ
collecting taxes and that defendant J. GUTIERREZ was giving
orders through defendant R. SANCHEZ.

153. On April 1, 2011, in a telephone conversation using
coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant RUIZ provided an unidentified co-
conspirator $300 in taxes and not the agreed-upon $500 in taxes,
and defendant M. GUTIERREZ told defendant J. GUTIERREZ that
defendant J. GUTIERREZ should charge defendant RUIZ interest on

the remaining taxes defendant RUIZ owed to defendant J.

GUTIERREZ.

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154, On April 1, 2011, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant R. SANCHEZ
that defendant RUIZ did not pay the full amount of taxes to
defendant J. GUTIERREZ, and defendant J. GUTIERREZ told
defendant R. SANCHEZ to collect an additional $200 from
defendant RUIZ.

155. On April 19, 2011, defendant R. SANCHEZ sent $200 in
extortionate taxes collected by the El Monte Flores gang to
defendant J. GUTIERREZ via Western Union.

156. On April 20, 2011, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant R. SANCHEZ
that defendant J. GUTIERREZ told defendant RUIZ that defendant
J. GUTIERREZ gave orders through defendant R. SANCHEZ, and
defendant J. GUTIERREZ added that defendant RUIZ did not provide
the full $500 tax payment owed by defendant RUIZ to defendant J.
GUTIERREZ.

157. On April 26, 2011, defendant SALAS told a law
enforcement confidential informant (“CI-2”) that, on the night
defendant SALAS shot at defendant LAFARGO and El Monte Flores
gang member A.B., defendant SALAS had his firearm because
defendant SALAS was selling a half-pound of drugs to an
unidentified co-conspirator.

158. On April 27, 2011, defendant SALAZAR possessed
approximately 12.25 grams of methamphetamine and 1.25 grams of
marijuana, plastic baggies, a digital scale, a 12-gauge shotgun,
four rounds of .22 caliber ammunition, a handheld radio scanner,
and $2,416 in U.S. currency inside his residence, located in El
Monte Flores gang territory.

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159. On May 18, 2011, defendant SALAZAR possessed
approximately .14 grams of methamphetamine and 1.33 grams of
marijuana, seven marijuana plants, two digital scales, plastic
baggies, and $1,332 in U.S. currency hidden in his shoes inside
his residence, located in El Monte Flores gang territory.

160. On June 2, 2011, defendant CADENA possessed
approximately 47.67 grams of marijuana, 26 marijuana plants, 10
hydrocodone pills, approximately 54.9 grams of a cutting agent,
pay-and-owe sheets, a loaded 9mm firearm, a loaded .22 caliber
firearm, hundreds of rounds of assorted ammunition, a digital
scale smeared with methamphetamine residue, three other digital
scales, $27,897 in U.S. currency, and El Monte Flores gang
paraphernalia at his residence, located in El Monte Flores gang
territory.

161. On June 10, 2011, defendants M. CORTEZ and B. CORTEZ
kidnapped victim V.F. from a “Motel 6” in El Monte Flores gang
territory and held V.F. hostage at the “Valley Inn” in the City
of Industry; and they forced V.F. to withdraw money from an ATM
and buy items for defendants M. CORTEZ and B. CORTEZ at Best Buy
and RadioShack.

162. On June 16, 2011, defendant R. LOPEZ possessed
approximately 2.3 grams of methamphetamine, 4.2 grams of
marijuana, 5.5 grams of heroin, 220 oxycontin pills, and four
morphine pills in his vehicle as he attempted to enter Mexico
from the United States.

163. On June 20, 2011, defendant J. GUTIERREZ wrote a
letter to defendant M. GUTIERREZ telling defendant M. GUTIERREZ

to keep some of the extortionate taxes collected by the El Monte

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Flores gang for herself but to send the remainder to defendant
J. GUTIERREZ and an unindicted co-conspirator.

164. On July 1, 2011, defendant SIERRA and an unindicted
co-conspirator sold a .380 caliber Bersa firearm to an El Monte
Flores gang member known to the Grand Jury in exchange for $200,
and defendant SIERRA offered to sell additional firearms to the
gang member. |

165. On July 12, 2011, defendant RICHARD RODRIGUEZ
possessed approximately 8.34 grams of methamphetamine, $625 in
U.S. currency, and a loaded .22 caliber firearm in El Monte
Flores gang territory.

166. On July 13, 2011, defendant ROBERT RODRIGUEZ told co-
conspirator Ramos and an El Monte Flores gang member known to
the Grand Jury that there were several Mexican Mafia members who
controlled the El Monte Flores gang and that co-conspirator
Ramos must pay additional tax money to defendant RUIZ to
continue selling drugs in El Monte Flores gang territory; and
co-conspirator Ramos told defendant ROBERT RODRIGUEZ that an
unidentified co-conspirator working for defendant RUIZ seized
one of co-conspirator Ramos’s cars that co-conspirator Ramos
used to distribute drugs because co-conspirator Ramos owed
defendant RUIZ extortionate taxes.

167. On July 20, 2011, defendant J. GUTIERREZ wrote a
letter to Mexican Mafia member A.V. telling Mexican Mafia member
A.V. that there were already two Mexican Mafia members
collecting taxes in El Monte Flores gang territory and that
Mexican Mafia member ALY. was encroaching on defendant J.

GUTIERREZ’s territory; and defendant J. GUTIERREZ signed the

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letter by modifying the last letter of his moniker, “Chemo,” to
spell “eme” to represent defendant J. GUTIERREZ’s membership
within the Mexican Mafia.

168. On July 20, 2011, in a telephone conversation using
coded language, defendant R. LOPEZ agreed to sell 25 grams of
heroin to an El Monte Flores gang member known to the Grand Jury
in exchange for $850.

169. On August 2, 2011, defendant R. LOPEZ sold
approximately 25.4 grams of heroin to an El Monte Flores gang
member known to the Grand Jury in El Monte Flores gang
territory, and defendant R. LOPEZ told the gang member that the
quality of the heroin would be better next time.

170. On August 2, 2011, in a telephone conversation using
coded language, defendant LAFARGO told an El Monte Flores gang
member known to the Grand Jury that an unidentified co-
conspirator would pick up drugs in the near future and attempt
to smuggle those drugs into Calipatria State Prison for
defendant LAFARGO.

171. On August 15, 2011, defendant R. LOPEZ possessed
approximately 77.4 grams of heroin in his vehicle in El Monte
Flores gang territory.

172. On August 16, 2011, defendant R. LOPEZ possessed a .40
caliber firearm, a loaded -45 caliber firearm, 61 rounds of .45
caliber ammunition, approximately .02 grams of methamphetamine,
three MDMA tablets, $1,031 in U.S. currency, and a cutting agent
at his residence, located in El Monte Flores gang territory.

173. On August 25, 2011, in a telephone conversation using

coded language, co-conspirator Ramos told an El Monte Flores

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gang member known to the Grand Jury that defendant RUIZ was
taxing co-conspirator Ramos for selling drugs in El Monte Flores
gang territory, that co-conspirator Ramos would pay defendant
RUIZ $200 per month in tax money, and that co-conspirator Ramos
would use defendant E. LOPEZ to sell drugs in El Monte Flores
gang territory.

174. On September 11, 2011, defendant J. GUTIERREZ sent a
letter to defendants M. GARCIA and BE. LOPEZ telling defendants
M. GARCIA and E. LOPEZ not to discuss extortionate taxes
collected by the El Monte Flores gang in their communications
because federal law enforcement officers read defendant J. |
GUTIERREZ’s mail; and defendant J. GUTIERREZ signed the letter
by modifying the last letter of his moniker, “Chemo,” to spell
“eme” to represent defendant J. GUTIERREZ’s membership within
the Mexican Mafia.

175. On September 21, 2011, defendant E. LOPEZ possessed
approximately .59 grams of heroin and three rounds of .380
caliber ammunition.

176. On October 4, 2011, in a telephone conversation using
coded language, defendant M. GUTIERREZ told defendant J.
GUTIERREZ that defendant R. SANCHEZ was taxing people in El
Monte Flores gang territory on behalf of defendant J. GUTIERREZ.

‘177. On October 15, 2011, defendant JARA visited Mexican
Mafia member C.A. at Pelican Bay State Prison and told Mexican
Mafia member C.A. that defendant JARA was going to collect taxes
from an unidentified co-conspirator who was engaged in drug
trafficking, and Mexican Mafia member C.A. told defendant JARA

that defendant RUIZ was not allowed to sell drugs or collect

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taxes in El Monte Flores gang territory because defendant RUIZ
changes his allegiance to different Mexican Mafia members to
avoid paying taxes on drug trafficking proceeds. |

178. On October 16, 2011, defendant JARA visited Mexican
Mafia member C.A. in Pelican Bay State Prison and told Mexican
Mafia member C.A. that an unidentified co-conspirator had been
making monthly tax payments to Mexican Mafia member C.A. and
that defendant JARA passed along Mexican Mafia member C.A.’S
message to defendants COFER and RUIZ that defendant RUIZ was no
longer allowed to sell drugs or collect taxes in El Monte Flores
gang territory.

179. On October 19, 2011, in a text message by telephone,
an unidentified co-conspirator offered to sell defendant JARA
high quality drugs for $10,200 or lower quality drugs for
$9,500. |

180. On October 19, 2011, in a text message by telephone,
defendant JARA asked an unidentified co-conspirator for a drug
sample.

181. On October 31, 2011, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GARCIA that
Mexican Mafia member A.V. was attempting to collect taxes from
defendant RUIZ but defendant RUIZ was already paying taxes to
defendant J. GUTIERREZ, who was incarcerated outside of
California; and defendant J. GARCIA told defendant RUIZ that he
would stand by defendant RUIZ and protect El Monte Flores gang
territory from Mexican Mafia member A.V. and that defendant J.

GARCIA was getting other El Monte Flores gang members ready to

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protect El Monte Flores gang territory from Mexican Mafia member
A.V.

182. On November 4, 2011, defendant M. GUTIERREZ sent $100
in tax proceeds to defendant J. GUTIERREZ via Western Union.

183. On November 6, 2011, in a telephone conversation using
coded language, defendant RUIZ agreed to sell drugs to an
unidentified co-conspirator.

184. On November 6, 2011, in a telephone conversation using
coded language, defendant RUIZ called defendant JARA and
arranged to meet the following day.

185. On November 7, 2011, defendants COFER, RUIZ, and JARA
met at the General Welfare office in El Monte Flores gang
territory to discuss the collection of extortionate taxes.

186. On November 10, 2011, defendants ROBERT RODRIGUEZ,
COFER, RUIZ, and JARA, and an El Monte Flores gang member known
to the Grand Jury met at “Don Beto” restaurant in Hl Monte
Flores gang territory to discuss matters related to the criminal
activities of the El Monte Flores gang. During the meeting,
defendant JARA told defendants ROBERT RODRIGUEZ, COFER, and RUIZ
that defendant JARA represented Mexican Mafia member C.A. and
that Mexican Mafia member C.A. had ordered defendants ROBERT
RODRIGUEZ and RUIZ to stop collecting taxes in El Monte Flores
gang territory; and, in response, defendant RUIZ told defendant
JARA that defendant RUIZ would continue to collect taxes in El
Monte Flores gang territory on behalf of defendant J. GUTIERREZ.

187. On November 12, 2011, defendant JARA visited Mexican
Mafia member C.A. in Pelican Bay State Prison, and Mexican Mafia

member C.A. told defendant JARA that defendant COFER was

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authorized to attack unidentified individuals who collect taxes
in El Monte Flores gang territory without authorization, but
defendant COFER must give the unidentified individuals a warning
first. |

188. On November 23, 2011, in a text message by telephone,
defendant COFER told defendant JARA that defendant COFER just
collected $200 in taxes from defendant RUIZ.

189. On December 6, 2011, in a telephone conversation using
coded language, defendant COFER agreed to sell methamphetamine
to an El Monte Flores gang member known to the Grand Jury later
that day.

190. On December 6, 2011, defendant COFER sold
approximately 13.4 grams of methamphetamine to an El Monte
Flores gang member known to the Grand Jury.

191. On December 22, 2011, in a telephone conversation
using coded language, defendant COFER told defendant MACHADO
that unidentified co-conspirators were hiding from defendant
COFER because they owed defendant COFER money, and defendant
MACHADO agreed to go with defendant COFER to an unidentified co-
conspirator’s residence that night at midnight to collect
payment.

192. On December 22, 2011, in a telephone conversation
using coded language, defendant MACHADO offered to shoot an
unidentified person the following day because defendant COFER
had a dispute with the unidentified person, and defendant COFER
authorized the shooting.

193. On December 26, 2011, in a telephone conversation

using coded language, defendant COFER told defendant JARA that

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defendant RUIZ failed to show up for a meeting to provide
defendant COFER with defendant RUIZ’s share of extortionate
taxes collected by the El Monte Flores gang, and defendant JARA
told defendant COFER that defendant JARA needed the taxes before
defendant JARA visited Mexican Mafia member C.A. at Pelican Bay
State Prison.

194. On December 26, 2011, in a telephone conversation
using coded language, defendant COFER told defendant CASTELLANO
that defendant COFER was going to purchase additional drugs for
resale, but defendant COFER needed defendant CASTELLANO’s share
of the money.

195. On December 26, 2011, in a telephone conversation
using coded language, defendant CASTELLANO told defendant COFER
that defendant CASTELLANO was losing drug customers because
defendant COFER had provided defendant CASTELLANO with less than
their agreed-upon amount of drugs and defendant CASTELLANO
therefore could not supply drugs to his customers.

196. On December 27, 2011, defendant JARA sent $100 in
extortionate taxes collected by the El Monte Flores gang to
Mexican Mafia member C.A. via wire transfer.

197. On December 27, 2011, in a telephone conversation
using coded language, defendant MACHADO requested two grams of
heroin from defendant COFER, and defendant COFER told defendant
MACHADO that the smallest quantity of heroin defendant COFER
would sell was approximately six grams.

198. On December 27, 2011, in a telephone conversation
using coded language, defendant MACHADO told defendant COFER

that the two grams of heroin he requested was for an El Monte

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Flores gang member and asked defendant COFER the price for six
grams of heroin; and defendant COFER told defendant MACHADO that
the price was $250 for six grams of heroin.

199. On December 27, 2011, in a telephone conversation
using coded language, defendant COFER told defendant MACHADO
that defendant COFER was on his way to Alhambra, California, to
tell an unidentified co-conspirator that if the unidentified co-
conspirator did not pay defendant COFER for 40 grams of heroin
then defendant COFER would assault the unidentified co-
conspirator, and defendant MACHADO asked to go with defendant
COFER.

‘200. On December 27, 2011, in a telephone conversation
using coded language, defendant MACHADO offered to shoot the
unidentified co-conspirator who defendant COFER was visiting in
Alhambra, California, if defendant COFER wanted to cause harm to
the co-conspirator, and defendant COFER agreed to pick up
defendant MACHADO after defendant COFER dropped off defendant
COFER’s girlfriend’s daughter and then drive to Alhambra,
California, to meet the unidentified co-conspirator.

201. On December 27, 2011, ina telephone conversation
using coded language, defendant MACHADO told defendant COFER
that defendant ROBERT RODRIGUEZ attempted to collect taxes from
an unidentified female co-conspirator who sold Vicodin in El
Monte Flores gang territory, and defendant COFER told defendant
MACHADO that defendant ROBERT RODRIGUEZ should not have
attempted to collect taxes from the female co-conspirator based
on defendant COFER’ s conversations with Mexican Mafia member

C.A. and defendant J. GUTIERREZ.

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202. On December 27, 2011, in a telephone conversation
using coded language, defendant ROBERT RODRIGUEZ told defendant
COFER that defendant BOWERS attempted to recruit two
unidentified female co-conspirators who sold drugs on behalf of
defendant ROBERT RODRIGUEZ, and defendant COFER agreed to talk
to defendant BOWERS. .

203. On December 31, 2011, defendant TRINIDAD and
unidentified co-conspirators attacked and beat victim J.R. in El
Monte Flores gang territory.

204. On January 3, 2012, in a telephone conversation using
coded language, defendant MACHADO asked defendant COFER for
ammunition, and defendant COFER told defendant MACHADO that
defendant COFER would call an unidentified co-conspirator and
deliver the ammunition later that day.

205. On January 4, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that an
unidentified co-conspirator was not paying taxes.

206. On January 4, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that an
unidentified co-conspirator had paid taxes and someone had told
law enforcement that defendants COFER and RAMIREZ were selling
drugs at “Crawford’s Plaza” in El Monte Flores gang territory.

207. On January 6, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that a
vendor at “Crawford’s Plaza” would not pay taxes, and defendant
RAMIREZ told defendant COFER that it was defendant RAMIREZ’s
problem because defendant RAMIREZ was in charge of collecting

taxes from “Crawford’s Plaza.”

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208. On January 6, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that a
fraudulent document vendor at “Crawford’s Plaza” would not pay
taxes, and defendant COFER agreed to lower the tax to $15 per
week and told defendant RAMIREZ to talk to the vendor’s brother.

209. On January 7, 2012, in a telephone conversation using
coded language, defendant COFER told defendant MACHADO that
defendant COFER had assaulted an unidentified victim, defendant
MACHADO told defendant COFER that he would assault the victim
for defendant COFER next time, and defendant MACHADO asked
defendant COFER for ammunition for a .45 caliber firearm.

210. On January 7, 2012, in a telephone conversation using
coded language, defendant ROBERT RODRIGUEZ told defendant COFER
that defendant ROBERT RODRIGUEZ wanted to talk to defendant
BOWERS about defendant BOWERS’s attempt to recruit two
unidentified female co-conspirators who sold drugs on behalf of
defendant ROBERT RODRIGUEZ.

211. On January 9, 2012, in a telephone conversation using
coded language, defendant MACHADO told defendant COFER that
defendant MACHADO had robbed an unidentified victim on the
street of $20, and defendant COFER agreed to sell defendant
MACHADO $20 worth of drugs.

212. On January 9, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that
defendant RAMIREZ told a new fraudulent document vendor at
‘“Crawford’s Plaza” that the vendor must pay taxes in the amount
of $5 for each item the vendor sold but the vendor resisted, and

defendant RAMIREZ asked defendant COFER not to get involved yet.

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213. On January 9, 2012, in a telephone conversation using
coded language, defendant RAMIREZ agreed to deliver extortionate
taxes collected by the El Monte Flores gang to defendant COFER’s
residence.

214. On January 10, 2012, in a telephone conversation using
coded language, defendant COFER agreed to let defendant MUNOZ
borrow a firearm.

215. On January 10, 2012, in a telephone conversation using
coded language, co-conspirator Pedro Sanchez, aka “Toro” (‘“P.
Sanchez”), told defendant COFER that co-conspirator P. Sanchez
had been selling drugs all day and asked to meet with defendant
COFER later that day.

216. On January 11, 2012, in a telephone conversation using
coded language, defendant RAMIREZ told defendant COFER that an
unidentified rival was going to try to take control of
“Crawford’s Plaza” from defendant COFER.

217. On January 12, 2012, in a telephone conversation using
coded language, co-conspirator P. Sanchez agreed to supply drugs
to defendant COFER.

218. On January 12, 2012, in a telephone conversation using
coded language, defendant COFER agreed to sell three ounces of
methamphetamine to defendant MACHADO in exchange for $2,000, and
defendant MACHADO told defendant COFER that defendant MACHADO’s
customers needed the methamphetamine as soon as possible.

219. On January 14, 2012, in a telephone conversation using
coded language, defendant MUNOZ asked defendant COFER if
defendant MUNOZ could borrow an instrument used to seal baggies

for drugs for transport or sale.

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220. On January 16, 2012, in a telephone conversation using
coded language, defendant B. CORTEZ told defendant COFER that
defendant B. CORTEZ possessed heroin and asked defendant COFER
if defendant COFER knew of anyone who wanted to purchase heroin.

221. On January 18, 2012, in a telephone conversation using
coded language, defendant COFER told co-conspirator P. Sanchez
that defendant COFER needed additional drugs but asked co-
conspirator P. Sanchez to lower the price for the drugs he was
selling, and co-conspirator.P. Sanchez agreed to discuss a lower.
price when they met in person at a restaurant in El Monte Flores
gang territory.

222. On January 19, 2012, in a telephone conversation using
coded language, defendant JARA told defendant CASTELLANO that an
unindicted co-conspirator wanted to purchase 40 oxycontin pills
from defendant CASTELLANO in exchange for $60, but defendant
CASTELLANO refused to sell the pills for that price and told
defendant JARA that defendant CASTELLANO usually sells the
oxycontin pills for $4 per pill.

223. On January 22, 2012, defendant MUNOZ possessed a
loaded Rossi .32 caliber revolver and a loaded Colt .38 caliber
revolver in his vehicle in El Monte Flores gang territory.

224. On January 22, 2012, defendant CASTELLANO sent $55 in
extortionate taxes collected by the El Monte Flores gang to
Mexican Mafia member C.A. via credit card.

225. On January 24, 2012, in a telephone conversation using
coded language, defendant COFER agreed to sell methamphetamine

the following day to an El Monte Flores gang member known to the
Grand Jury.

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226. On January 25, 2012, defendant COFER sold
approximately 12.9 grams of methamphetamine to an El Monte
Flores gang member known to the Grand Jury.

227. On January 25, 2012, in a telephone conversation using
coded language, defendant B. CORTEZ told an El Monte Flores gang
member known to the Grand Jury that defendant B. CORTEZ had sold
only a small quantity of heroin and that defendant B. CORTEZ
still possessed approximately one ounce of heroin for sale.

228. On January 25, 2012, in a telephone conversation using
coded language, defendant B. CORTEZ offered to sell one ounce of

heroin to an El Monte Flores gang member known to the Grand Jury

in exchange for $800.

229. On January 25, 2012, defendant B. CORTEZ sold
approximately 23.7 grams of heroin to an El Monte Flores gang
member known to the Grand Jury in exchange for $800.

230. On January 26, 2012, defendant MUNOZ possessed a Raven
Arms .25 caliber firearm in his vehicle in El Monte Flores gang
territory.

231. On January 26, 2012, defendant BALLESTEROS possessed
rubber balloons, a digital scale, and El Monte Flores gang
paraphernalia in his residence, located in El Monte Flores gang
territory.

232. On January 31, 2012, defendant J. GARCIA, while
driving in El Monte Flores gang territory, threw a loaded 9mm
firearm from his vehicle when he saw a police car.

233. On February 11, 2012, in a telephone conversation
using coded language, defendant BOWERS told defendant COFER that

defendant BOWERS lost drugs when an unidentified female co-

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conspirator accidentally dropped the drugs in the toilet while
at a “Jack In The Box” restaurant, and defendants COFER and
BOWERS agreed to bring drugs to a party that night.

234. On February 13, 2012, in a telephone conversation
using coded language, co-conspirator P. Sanchez agreed to
provide additional drugs to defendant COFER.

235. On February 15, 2012, in a telephone conversation
using coded language, co-conspirator P. Sanchez agreed to
provide additional drugs to defendant COFER before co-
conspirator P. Sanchez drove to Ensenada, Mexico, to acquire
additional drugs.

236. On February 16, 2012, in a telephone conversation
using coded language, defendant MUNOZ offered to sell drugs to
defendant COFER at a discounted price of $400.

237. On February 16, 2012, in a telephone conversation
using coded language, defendant COFER told defendant MUNOZ that
defendant COFER had the money for the drugs defendant MUNOZ had
offered to sell and was outside waiting for defendant MUNOZ.

238. On February 16, 2012, co-conspirator P. Sanchez met
defendant COFER at a “Mariscos Uruapan” restaurant in Irwindale,
California, for the purpose of providing defendant COFER with
drugs.

239.- On February 16, 2012, in a telephone conversation
using coded language, defendant RUIZ told defendant J. GUTIERREZ
that defendant RUIZ would collect tax payments from an
unidentified co-conspirator later that week and promised to send

the money to defendant J. GUTIERREZ shortly.

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240. On February 18, 2012, in a telephone conversation
using coded language, defendant SALAZAR asked defendant COFER if
defendant SALAZAR could buy drugs on credit because defendant
SALAZAR had only $350, and defendant SALAZAR promised to pay
defendant COFER the remaining money for the drugs the following
day.

241. On February 19, 2012, in a telephone conversation
using coded language, defendant SALAZAR told defendant COFER
that defendant SALAZAR had the remaining money for the drug
transaction that took place between them the previous day.

242, On February 19, 2012, in a telephone conversation
using coded language, defendant SALAZAR told defendant COFER
that the drugs weighed 6.4 grams, which was less than the
agreed-upon weight, and defendant COFER agreed to provide the
remaining drugs to defendant SALAZAR at a later date.

243. On February 19, 2012, defendant MATA possessed a
loaded .380 caliber semi-automatic pistol, approximately .03
grams of methamphetamine, three stolen credit cards, and a
stolen social security card in a motel room in West Covina,
California.

244, On February 20, 2012, defendant RUIZ caused $400 in
extortionate taxes collected by the El Monte Flores gang to be
sent to defendant J. GUTIERREZ via Western Union.

245. On February 23, 2012, in a telephone conversation
using coded language, defendant LAFARGO told defendant COFER
that defendant LAFARGO’s dispute with defendant SALAS started
when defendant SALAS directed an unidentified co-conspirator to

sell drugs in the same area where defendant LAFARGO was selling

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drugs on behalf of Mexican Mafia member C.A. and defendant J.
GUTIERREZ, that defendants RUIZ and JARA were unable to resolve
the dispute, that defendants SALAS and TRINIDAD later confronted
and pointed firearms at defendant. LAFARGO in front of defendant
LAFARGO’s residence, and that defendant LAFARGO retaliated by
shooting at defendant SALAS but defendant LAFARGO missed and
defendant SALAS chased and shot at defendant LAFARGO and El
Monte Flores gang member A.B. after their car crashed.

246. On February 23, 2012, in a telephone conversation
using coded language, defendant LAFARGO told defendant COFER
that defendant LAFARGO was selling drugs for the El Monte Flores
gang and the Mexican Mafia before he was arrested and that
defendant LAFARGO was now selling drugs in prison, and defendant
LAFARGO asked defendant COFER to contact an unidentified co-
conspirator and tell the co-conspirator that defendant LAFARGO
worked for defendant COFER.

247. On February 23, 2012, defendant BESERRA possessed
approximately 6.0 grams of methamphetamine and 39.83 grams of
marijuana, pay-and-owe sheets, a digital scale, plastic baggies,
a knife, gang paraphernalia, and $2,811 in U.S. currency in his
residence, located in El Monte Flores gang territory.

248. On February 24, 2012, ina telephone conversation
using coded language, defendant CASTELLANO told defendant COFER
that defendant CASTELLANO had been stopped by law enforcement
officers on “Roseglen Street” in El Monte, and defendant COFER
told defendant CASTELLANO to drink lots of water and to use the

bathroom to flush the packaged drugs out of her stomach.

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249. On February 24, 2012, defendant SALAZAR possessed
approximately 1.9 grams of methamphetamine in his vehicle while
parked at the “Gibson Inn Motel,” located in El Monte Flores
gang territory.

250. On February 26, 2012, in a telephone conversation
using coded language, defendant JARA told defendant COFER that
defendant JARA did not want to work with defendant RUIZ, and
defendant COFER told defendant JARA that defendants COFER and
RUIZ had reached an agreement and were collecting taxes together
in El Monte Flores gang territory.

251. On March 1, 2012, in a telephone conversation using
coded Language, defendant COFER told defendant JARA that
defendants COFER and RUIZ were going to meet at the “Klingerman”
apartments in El Monte Flores gang territory later that day
because they were expecting a telephone call from defendant J,
GUTIERREZ to resolve a dispute over who could collect taxes at
“Crawford’s Plaza.”

252. On March 1, 2012, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendants COFER and
RUIZ that defendant RUIZ was allowed to collect taxes at
“Crawford’s Plaza” on behalf of defendant J. GUTIERREZ because
defendant J. GUTIERREZ had been collecting taxes at “Crawford’s
Plaza” before defendant COFER and Mexican Mafia member C.A.
started collecting taxes at that location, and defendant J.
GUTIERREZ refused to speak to defendant JARA to try to resolve
the dispute because defendant JARA was not providing Mexican

Mafia member C.A. all of the facts surrounding the dispute.

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253. On March 1, 2012, in a telephone conversation using
coded language, defendant COFER told defendant JARA that
defendant J. GUTIERREZ had decided that defendant RUIZ was
allowed to collect taxes from “Crawford’s Plaza” and that
defendant J. GUTIERREZ did not want to talk to defendant JARA to
resolve the dispute, and defendant JARA agreed to write a letter
to Mexican Mafia member C.A. to inform Mexican Mafia member C.A.
of the outcome of the dispute.

254. On March 6, 2012, defendant COFER possessed
approximately 7.9 grams of methamphetamine, a taser gun, a
digital scale, an empty bottle of oxycontin pills prescribed to
defendant CASTELLANO, debit cards in the name of defendant
SALAZAR, a credit card reader machine, and prison letters from
Mexican Mafia members.

255. On March 7, 2012, in a telephone conversation using
coded language, defendant COFER told defendant CASTELLANO that
defendant COFER had been arrested after law enforcement found
defendant COFER with methamphetamine in his possession, and
defendant CASTELLANO agreed to collect taxes with defendant
MACHADO.

256. On March 9, 2012, in a telephone conversation using
coded language, defendant COFER told defendant CASTELLANO to
collect taxes with defendant MACHADO from defendant LOMELI and
other unidentified co-conspirators while defendant COFER was
incarcerated, and defendant CASTELLANO agreed to collect the
taxes and provide the taxes collected to defendant JARA.

257. On March 20, 2012, in a telephone conversation using

coded language, defendant B. CORTEZ offered to sell 25 grams of

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high quality heroin to an El Monte Flores gang member known to
the Grand Jury in exchange for $700, or 25 grams of lower a
quality heroin in exchange for $450.

258. On March 25, 2012, defendant JARA visited Mexican
Mafia member C.A. in Pelican Bay State Prison, and defendant
JARA told Mexican Mafia member C.A. that defendant RUIZ was
still working on behalf of defendant J. GUTIERREZ and requested
authority to have defendant RUIZ killed, but Mexican Mafia
member C.A. told defendant JARA to wait on killing defendant
RUIZ.

259. On March 27, 2012, in a telephone conversation using
coded language, defendant RUIZ told defendant J. GUTIERREZ that
defendant RUIZ was working to ensure that everyone was paying
taxes to defendant J. GUTIERREZ, that defendant BESERRA sent
money to defendant J. GUTIERREZ, and that defendant JARA was not
delivering messages to Mexican Mafia member C.A.

260. On March 27, 2012, in a telephone conversation using
coded language, defendant J. GUTIERREZ told defendant RUIZ that
defendants R. SANCHEZ and RUIZ needed to cooperate on all El
Monte Flores gang issues and that the Maxon Murders made the El
Monte Flores gang look bad in the eyes of the Mexican Mafia.

261. On April 3, 2012, in a text message by telephone,
defendant B. CORTEZ told an El Monte Flores gang member known to
the Grand Jury that she wanted to purchase a firearm in exchange
for $200.

262. On April 4, 2012, defendant CORDERO possessed
approximately 2.4 grams of methamphetamine, a digital scale, six

rounds of .357 ammunition, and one round of 12-gauge shotgun

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ammunition in his residence, located in El Monte Flores gang
territory.

263. On April 10, 2012, in a text message by telephone,
defendant B. CORTEZ told defendant M. CORTEZ that defendant B.
CORTEZ. had heroin for sale and asked defendant M. CORTEZ to find
customers for the heroin.

264. On April 17, 2012, co-conspirator S. Hernandez
possessed approximately 2.0 grams of methamphetamine, plastic
baggies, and a scale in El Monte Flores gang territory.

265. On April 18, 2012, defendant COFER told an El Monte
Flores gang member known to the Grand Jury that defendant COFER
paid taxes to Mexican Mafia member C.A. and defendant JARA, that
defendant RUIZ and other El Monte Flores gang members had to pay
taxes to the Mexican Mafia for drug sales inside El Monte Flores
gang territory but were allowed to sell drugs outside of El
Monte Flores gang territory without paying taxes to the Mexican
Mafia, and that defendant BESERRA sells drugs on behalf of
defendant J. GUTIERREZ. |

266. On April 21, 2012, defendant MATA and an unindicted
co-conspirator followed victim T.S. to T.S.’s home in rival gang
territory, and they attempted to kill T.S. by firing two shots
at T.S. in front of T.S.’s home.

267. On May 9, 2012, defendant MACHADO possessed 57 rounds
of 12-gauge shotgun ammunition, four shaved automobile keys,
handcuffs, and El Monte Flores gang paraphernalia at his

residence, located in El Monte Flores gang territory.

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268. On May 17, 2012, in a telephone conversation using
coded language, defendant GOMEZ agreed to sell drugs to
defendant B. CORTEZ later that day.

269. On May 17, 2012, in a telephone conversation using
coded language, defendant GOMEZ told defendant B. CORTEZ that
defendant GOMEZ would arrive at the meeting location for their
scheduled drug transaction in five minutes, and defendant GOMEZ
jokingly told defendant B. CORTEZ to “say no to drugs.”

270. On May 18, 2012, in a telephone conversation using
coded language, defendant B. CORTEZ told defendant GOMEZ that
defendant B. CORTEZ urgently needed drugs and that defendant
GOMEZ’s drugs were high quality.

271. On May 24, 2012, defendant MATA and an unindicted El
Monte Flores gang member drove a stolen Porsche and led law
enforcement officers on a high-speed car chase through El Monte
Flores gang territory.

272. On May 29, 2012, defendant BESERRA possessed a digital
scale smeared with methamphetamine residue, one’ round of 12-
gauge ammunition, as well as stolen checks, bank records, credit
cards, and California identification cards, all in his
residence, located in El Monte Flores gang territory.

273. On June 3, 2012, defendant COFER possessed
approximately 31.9 grams of methamphetamine and .12 grams of
heroin, as well as a loaded .380 caliber firearm, at the “Monte
Carlo Inn” in Azusa, California.

274. On June 4, 2012, in a telephone conversation using
coded language, defendant R. SANCHEZ told defendant J. GUTIERREZ

that Mexican Mafia member A.V. was encroaching on El Monte

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Flores gang territory, and defendant J. GUTIERREZ told defendant
R. SANCHEZ that defendant J. GUTIERREZ regretted voting in favor
of Mexican Mafia member A.V.’s induction into the Mexican Mafia
as a member.
-275. On June 14, 2012, co-conspirator Ramos possessed
approximately 18.07 grams of heroin in his vehicle.
276. On June 14, 2012, co-conspirator Ramos possessed pay-

and-owe sheets and a container of a drug cutting agent at his

residence.

277. On June 18, 2012, defendant A. HERNANDEZ possessed
approximately 3.19 grams of methamphetamine packaged for
distribution and attempted to rent a room at the “Gibson Inn
Motel,” located in El Monte Flores gang territory, to use as a

location to sell the methamphetamine.

278. On June 23, 2012, defendants RUIZ and BALLESTEROS and
80 other EL Monte Flores gang members held a meeting at the Boys
& Girls Club of America, during which a fight occurred between
unidentified El Monte Flores gang members.

279. On June 26, 2012, defendant JARA sent $115 in
extortionate taxes collected by the El Monte Flores gang to
Mexican Mafia member C.A. via wire transfer.

280. On July 3, 2012, defendant R. SANCHEZ possessed
approximately 26.9 grams of methamphetamine, a loaded .22
caliber firearm, a Silencer threaded to attach to the barrel. of
the .22 caliber firearm, a loaded .38 caliber revolver, 192

rounds of .22 caliber ammunition, and a bullet-proof vest in his

residence.

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281. On July 11, 2012, in a telephone conversation using
coded language, defendant TRINIDAD agreed to sell
methamphetamine to a law enforcement confidential informant
(“CI-3”) in exchange for $2,300 to be paid later that day.

282. On July 11, 2012, defendant TRINIDAD sold
approximately 108.9 grams of methamphetamine to CI-3 in exchange
for $2,300.

283. On July 21, 2012, defendant BESERRA possessed
approximately 2.43 grams of methamphetamine, packaged for
distribution, in his vehicle.

284. On July 21, 2012, in a text message by telephone,
defendant B. CORTEZ offered to trade an AK-47 assault rifle to
an El Monte Flores gang member known to the Grand Jury in
exchange for two pistols.

285. On July 21, 2012, in a text message by telephone,
defendant B. CORTEZ agreed to sell an AK-47 assault rifle to an
El Monte Flores gang member known to the Grand Jury in exchange
for $800.

286. On July 26, 2012, defendant JURADO possessed
approximately 1.61 grams of heroin, plastic baggies, and $277 in
U.S. currency in his residence, located in El Monte Flores gang
territory.

287. On August 1, 2012, defendant J. GARCIA possessed a
loaded .45 caliber firearm, a loaded .32 caliber firearm with an
“F” sticker, approximately 13.6 grams of methamphetamine and
25.2 grams of cocaine, a digital scale, $559 in U.S. currency,
and El Monte Flores gang paraphernalia in his residence, located

in El Monte Flores gang territory.

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288. On August 19, 2012, defendant COFER possessed a
Western Union receipt in the amount of $380.

289. On September 3, 2012, an unidentified rival gang
member from the Duarte street. gang called an El Monte Flores
gang member known to the Grand Jury and asked the gang member to
tell defendant COFER that the unidentified rival gang member
wanted to talk to defendant COFER about how defendant
BALLESTEROS stabbed a Duarte gang member in Huntington Beach,
California, in retaliation for the murder of an El Monte Flores
gang member, and the unidentified rival gang member was upset
because the Duarte gang had paid taxes to the El Monte Flores
gang as compensation for the murder of the El Monte Flores gang
member.

290. On September 3, 2012, defendant COFER called an
unidentified rival gang member from the Duarte street gang and
told the unidentified rival gang member that he would find out
why the Duarte gang member was stabbed in Huntington Beach,
California.

291. On September 22, 2012, defendant A. HERNANDEZ and an
unindicted El Monte Flores gang member used force to take
baseball hats from the “Su Casa” store, located in El Monte
Flores gang territory, while the unindicted El Monte Flores gang
member possessed approximately 2.15 grams of methamphetamine
packaged for distribution and 6.75 grams of marijuana.

292. On September 29, 2012, defendants RUIZ and BALLESTEROS
and an El Monte Flores gang member known to the Grand Jury met
at the Los Angeles County Fair, and defendant BALLESTEROS

admitted that defendant BALLESTEROS and an unindicted co-

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conspirator fought an unidentified rival gang member from the
Duarte street gang in Huntington Beach, California, and that the
unidentified Duarte gang member was stabbed in the leg during
the fight.

293. On October 2, 2012, in a telephone conversation using
coded language, defendant LOMELI agreed to sell one-half ounce
of methamphetamine to a law enforcement confidential informant
“(scr-4”) in exchange for $300.

294, On October 2, 2012, defendant LOMELI sold
approximately 13.3 grams of methamphetamine to CI-4 in exchange
for $300.

295. On October 6, 2012, defendant LOMELI went to the Boys
& Girls Club of America and offered to sell methamphetamine to
an El Monte Flores gang member known to the Grand Jury, and
defendant LOMELI told the gang member that defendant LOMELI’s

methamphetamine source of supply quoted defendant LOMELI low

prices.

296. On October 6, 2012, defendant BALLESTEROS went to the
Boys & Girls Club of America and told an El Monte Flores gang
member known to the Grand Jury that defendant BALLESTEROS was
involved in a fight between a rival gang member from the Duarte
street gang and an unindicted El Monte Flores gang member in
Huntington Beach, California, because the Duarte gang did not
handle a gang dispute properly.

297. On October 18, 2012, defendant LOMELI sold
approximately 81.8 grams of methamphetamine to an El Monte
Flores gang member known to the Grand Jury in exchange for
$1,500.

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298. on October 23, 2012, defendant A. HERNANDEZ possessed
a loaded 12-gauge shotgun and fled from law enforcement officers
through El Monte Flores gang territory.

299. On October 30, 2012, defendant COFER sent $60 in
extortionate taxes collected by the El Monte Flores gang to
Mexican Mafia member C.A. via Moneygram.

300. On November 3, 2012, in a telephone conversation using
coded language, defendant R. SANCHEZ told defendant J. GUTIERREZ
that defendant R. SANCHEZ told unidentified El Monte Flores gang
members to send taxes they collected directly to defendant J.
GUTIERREZ.

301. On November 18, 2012, in a telephone conversation
using coded language, defendant ROBERT RODRIGUEZ told Mexican
Mafia member R.S. that defendant ROBERT RODRIGUEZ had spoken to
defendant M. CORTEZ but defendant M. CORTEZ was still collecting
taxes and causing problems in El Monte Flores gang territory.

302. On January 3, 2013, defendant VALENCIA and unindicted
co-conspirators possessed a loaded 9mm firearm and approximately
.2 grams of methamphetamine in a truck, and they led law
enforcement officers on a high-speed car chase through El Monte
Flores gang territory.

303. On April 10, 2013, defendant MACHADO possessed two
loaded .380 caliber firearms, a loaded 20-gauge .sawed-off

shotgun, and a silver “F” belt buckle in El Monte Flores gang

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territory.

304. On April 19, 2013, defendant BALLESTEROS and four
unindicted co-conspirators attacked victims R.A., R.C., and E.C.

at the “Sunset Room,” in Hacienda Heights, California, because

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defendant BALLESTEROS believed that R.A., R.C., and E.C. had
shown disrespect to defendant BALLESTEROS and the El Monte
Flores gang.

305. On September 17, 2013, defendant A. HERNANDEZ
possessed approximately 3.28 grams of methamphetamine while
driving a stolen vehicle in El Monte Flores gang territory.

306. On November 7, 2013, defendant RIVERA met a law
enforcement confidential informant (“CI-5”) at the Boys & Girls
Club of America and collected $100 in extortionate taxes from
CI-5, told CI-5 that the taxes were going to be sent to Mexican
Mafia member C.A., and offered to sell drugs to CI-5.

307. On December 11, 2013, defendant RIVERA met CI-5 at the
Boys & Girls Club of America and offered to sell drugs to CI-5,
and defendant RIVERA told CI-5 that defendant RIVERA would
protect CI-5 from an unidentified co-conspirator if CI-5
purchased drugs from defendant RIVERA.

308. On January 9, 2014, in a telephone conversation using
coded language, defendant RIVERA told an unidentified co-
conspirator that defendant RIVERA and CI-5 would drive to the
unidentified co-conspirator’s house to purchase methamphetamine.

309. On January 9, 2014, defendant RIVERA and an
unidentified co-conspirator sold approximately 54.3 grams of
methamphetamine to CI-5 in El Monte Flores gang territory.

310. On January 9, 2014, defendant RIVERA authorized CI-5
to sell drugs in El Monte Flores gang territory after defendant
RIVERA collected $100 in extortionate taxes from CI-5, and

defendant RIVERA told CI-5 that defendant RIVERA carried a .22

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caliber firearm and would protect CI-5 from harm while CI-5 sold
drugs in El Monte Flores gang territory.

311. On March 31, 2014, defendant STERRA and an unindicted
co-conspirator hid a .22 caliber Derringer pistol in defendant
SIERRA’s trailer, located in El Monte Flores gang territory, and
defendant SIERRA and the unindicted co-conspirator attempted to
flee from defendant SIERRA’s trailer when law enforcement
approached it.

312. On April 11, 2014, defendant MUNOZ possessed
approximately 18.13 grams of methamphetamine, a digital scale,
and $2,810 in U.S. currency.

| 313. On June 9, 2014, defendant A. HERNANDEZ fled from law
enforcement while in possession of approximately 9.2 grams of
methamphetamine, 4.6 grams of heroin, and 3.3 grams of cocaine
in El Monte Flores gang territory.

314. On June 12, 2014, defendant RICHARD RODRIGUEZ and an
unindicted co-conspirator posted a picture of defendant RICHARD
RODRIGUEZ flashing gang signs to Facebook to show his continued

allegiance to the El Monte Flores gang.

THE GRAND JURY FURTHER ALLEGES THAT:

1. Beginning on a date unknown to the Grand Jury, and
continuing to the date of this Indictment, in Los Angeles
County, within the Central District of California, and
elsewhere, defendants J. GUTIERREZ, R. SANCHEZ, ROBERT
RODRIGUEZ, COFER, RUIZ, RIVERA, M. GARCIA, JARA, M. GUTIERREZ,
MATA, SALAS, LAFARGO, BALLESTEROS, R. LOPEZ, J. GARCIA, MACHADO,

MCCORMICK, LOMELI, TRINIDAD, M. CORTEZ, B. CORTEZ, E. LOPEZ,

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JURADO, VALENCIA, MUNOZ, GOMEZ, BESERRA, RICHARD RODRIGUEZ,
CORDERO, CADENA, A. HERNANDEZ, PONCE, BOWERS, SALAZAR, SIERRA,
CASTELLANO, and RAMIREZ, and others known and unknown to the
Grand Jury, conspired and agreed with each other to knowingly
and intentionally (i) possess with intent to distribute, and
(ii) distribute: at least 50 grams of methamphetamine, a
Schedule II controlled substance, and at least one kilogram of a
mixture or substance containing a detectable amount of heroin, a
Schedule I narcotic drug controlled substance, all in violation
of Title 21, United States Code, Sections 846, 841(a) (1), and
841 (b) (1) (A).

2. On or about December 24, 2010, in’ Los Angeles County,
within the Central District of California, defendant MATA and
others, unlawfully, willfully, deliberately, and with
premeditation killed with malice aforethought rival gang member
D.D. in violation of California Penal Code Sections 31, 187, and
189.

3. On or about April 21, 2012, in Los Angeles County,
within the Central District of California, defendant MATA, and
others known and unknown to the Grand Jury, willfully,
deliberately, and with premeditation, unlawfully attempted to
kill with malice aforethought T.S., in violation of California
Penal Code Sections 2la, 31, 187, 189, and 664.

4, On or about August 8, 2010, in Los Angeles County,
within the Central District of California, defendant SALAS
willfully, deliberately, and with premeditation, unlawfully

attempted to kill with malice aforethought defendant LAFARGO and

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A.B., in violation of California Penal Code Sections 2la, 187,
189, and 664.

5. On or about August 8, 2010, in Los Angeles County,
within the Central District of California, defendant LAFARGO,
and others known and unknown to the Grand Jury, willfully,
deliberately, and with premeditation, unlawfully attempted to
kill with malice aforethought defendant SALAS, in violation of
California Penal Code Sections 21a, 31, 187, 189, and 664.

6. Beginning on a date unknown, and continuing to on or
about August 8, 2010, in Los Angeles County, within the Central
District of California, defendant LAFARGO, and others known and
unknown to the Grand Jury, conspired to kill with malice
aforethought defendant SALAS, in violation of California Penal
Code Sections 182, 187, and 189.

All in violation of Title 18, United States Code, Section

1962 (d).

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COUNT TWO
[18 U.S.C. § 1959(a) (1)]

T. At all times relevant to this Indictment, the El Monte
Flores gang, as described more particularly in Paragraphs One
through Eighteen of the General Allegations of this Indictment,
which paragraphs are re-alleged and incorporated by reference as
if fully set forth herein, constituted an enterprise, as that
term is defined in Title 18, United States Code, Section
1959(b) (2), that is, a group of individuals associated in fact
which was engaged in, and the activities of which affected,
interstate and foreign commerce. The enterprise constituted an
ongoing organization whose members functioned as a continuing
unit for a common purpose of achieving the objectives of the
enterprise.

2. At all times relevant to this Indictment, the El Monte
Flores gang, through its members and associates, engaged in
racketeering activity, as defined in Title 18, United States
Code, Sections 1959(b) (1) and 1961(1), that is, acts involving
murder, robbery, and extortion, in violation of the California
Penal Code; and offenses involving the distribution of
controlled substances, including methamphetamine, heroin,
cocaine, and crack cocaine, in violation of Title 21, United
States Code, Sections 841(a)(1) and 846.

3, On or about December 24, 2010, in Los Angeles County,
within the Central District of California, for the purpose of
maintaining and increasing position in the El Monte Flores gang,
an enterprise engaged in racketeering activity, defendant JOHNNY

MATA, also known as “Minor,” murdered victim D.D. with malice

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